Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 1 of 41 Page ID #:12
                                 Case 8:20-cv-00102-JWH-ADS                Document
                                                 Electronically Filed by Superior              1-1 County
                                                                                  Court of California, Filed   01/17/20
                                                                                                           of Orange, 12/05/2019Page
                                                                                                                                11:18:29 2 of 41 Page ID #:13
                                                                                                                                         AM.
                                                DAVID H. YAMASAKI, Clerk of the Court By Briana Brown, Deputy Clerk. 30-2019-01116397-CU-BC-CJC ROA # 2




                                              CALLAHAN & BLAINE,APLC
                                              Daniel J. Callahan (Bar No. 91490)
                                              Edward Susolik (Bar No. 151081)
                                              Richard T. Collins (Bar No. 166577)
                                              Damon D. Eisenbrey (Bar No. 215927)
                                              3 Hutton Centre Drive, Ninth Floor
                                              Santa Ana, California 92707
                                              Telephone:(714) 241-4444
                                              Facsimile: (714)241-4445

                                              Attorneys for Plaintiff Woman's Recovery Center, LLC


                                                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                                                                               COUNTY OF ORANGE


                                              WOMAN'S RECOVERY CENTER,LLC,a                                         Case No.:
                                              California limited liability company,
                         LU
                                                                            Plaintiff,                              COMPLAINT FOR:
CALLAHAN & BLAINE




                    z0
                    0
                    <
                    Ce
                    Oz
                    11
                         Z
                                                       v.                                                           I. BREACH OF WRITTEN CONTRACT
                         W
                                                                                                                    2. BREACH OF IMPLIED COVENANT
                                              ANTHEM BLUE CROSS LIFE AND                                               OF GOOD FAITH AND FAIR
                         1.1.1                HEALTH INSURANCE COMPANY, a                                              DEALING
                                  z
                                  0           California corporation;                                               3. BREACH OF IMPLIED CONTRACT
                    U0
                       W
                                              ANTHEM INC., an Indiana corporation doing                             4. BREACH OF ORAL CONTRACT
                    LL z
                    00
                         F—
                                              business in California as ANTHEM                                      5. PROMISSORY ESTOPPEL
                    CL
                    <
                                              HEALTH,INC.;                                                          6. QUANTUM MERUIT
                         Ce,                  THE ANTHEM COMPANIES OF                                               7. UNFAIR COMPETITION
                                              CALIFORNIA, a California corporation;
                                              THE ANTHEM COMPANIES,INC., an
                                              Indiana corporation;                                                  DEMAND FOR JURY TRIAL
                                              ANTHEM INSURANCE COMPANIES,
                                              INC., an Indiana corporation;
                                              VIANT,INC., a Nevada corporation;
                                              MULTIPLAN,INC., a New York
                                              corporation;
                                              HEALTHRISK RESOURCE GROUP,INC.,
                                              an Iowa corporation; and
                                              DOES 1 through 25, inclusive,

                                                                            Defendants.



                                                       Plaintiff Woman's Recovery Center, LLC hereby alleges against Defendants Anthem Blue

                                              Cross Life and Health Insurance Company, Anthem Inc., doing business in California as Anthem

                                              Health, Inc., The Anthem Companies of California, The Anthem Companies, Inc., Anthem


                                                                                                        -1-
                                                                                                     COMPLAINT
                          Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 3 of 41 Page ID #:14



                                     Insurance Companies, Inc., Viant, Inc., Multiplan, Inc., Healthrisk Resource Group, Inc., and

                                     Does 1 through 25, as follows:

                                                                                THE PARTIES
                                             1.     Plaintiff Woman's Recovery Center, LLC(TIN XX-XXXXXXX)("Plaintiff') is, and at

                                     all relevant times herein mentioned was, a California corporation qualified to do business in the

                                     State of California. Plaintiff is, and at all relevant times herein was, an alcoholism and substance

                                     use disorder treatment provider with its principal place of business in Orange County, California.

                                     Plaintiff is in the profession of helping individuals recover from alcoholism and addiction and

                                     return to their families and communities as productive and contributing members of society.

                                     Plaintiff is, and at all relevant times herein was, certified by the California Department of Health

                                     Care Services("DHCS")to operate an alcoholism and substance use disorder treatment program
                     ft
                     0
                                     and holds a Centers for Medicare and Medicaid Services("CMS"), Clinical Laboratory
CALLAHAN & BLAINE




                    zO



                    •
                    CL     . *st 0
                    OZ
                    CL —4
                    crZET;
                                     Improvements Amendments("CLIA"), certificate of waiver.

                                            2.       On information and belief, Defendant Anthem Blue Cross Life and Health
                    —10

                    7
                    •t1 L ° 6-i !S
                    Zz  — -Z-1
                    O H < O<         Insurance Company("Anthem Blue Cross") is a California corporation which conducts insurance
                     w w<—
                    (/) 0 a.


                    0 0ZW i
                          Z          operations throughout California. Anthem Blue Cross markets and issues health insurance and/or
                    a- /-0
                    < D

                                     insurers, issues, administers and/or makes coverage and benefit determinations, and develops and

                                     applies substance use disorder and mental health treatment and laboratory services guidelines in

                                     making coverage and benefit determinations related to health care policies nationally through its

                                     various wholly-owned and/or controlled subsidiaries, controlled agents and/or undisclosed

                                     principals, including, but not limited to, Defendants Anthem Inc., doing business in California as

                                     Anthem Health, Inc., The Anthem Companies of California, The Anthem Companies, Inc.,

                                     Anthem Insurance Companies, Inc., Viant, Inc., Multiplan, Inc., and Healthrisk Resource Group,

                                     Inc. Plaintiff is informed and believes, and based thereon alleges, that Anthem Blue Cross is

                                     licensed and/or regulated by the California Department of Insurance ("CDI") and/or the California

                                     Department of Managed Health Care("CDMHC")to transact the business of insurance in the

                                     State of California, is in fact transacting the business of insurance in the State of California, and is

                                     thereby subject to the laws and regulations of the State of California. Plaintiff is informed and

                                                                                   -2-
                                                                                CONIPLAINT
                                                          Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 4 of 41 Page ID #:15



                                                                     1   believes, and based thereon alleges, that Anthem Blue Cross operates as and owns the trademark

                                                                     2 "Anthem Blue Cross."

                                                                     3           3.      On information and belief, Defendant Anthem Inc. is an Indiana corporation doing

                                                                     4 business in California as Anthem Health, Inc.("Anthem Inc.") which conducts insurance

                                                                     5 operations throughout California. Anthem Inc. markets and issues health insurance and/or insures,

                                                                     6 issues, administers and/or makes coverage and benefit determinations, and develops and applies

                                                                     7 substance use disorder and mental health treatment and laboratory services guidelines in making

                                                                     8 coverage and benefit determinations related to the health care policies at issue herein. Plaintiff is

                                                                     9 informed and believes, and based thereon alleges, that Anthem Inc. is licensed and/or regulated by

                                                                    10 the CDI and/or the CDMHC to transact the business of insurance in the State of California, is in

                                                                    11   fact transacting the business of insurance in the State of California, and is thereby subject to the
                                                     0
                                                                    12 laws and regulations of the State of California.
CALLAHAN & BLAINE
                    A PROFESSIONAL LAW CORPORATION




                                                     -J
                                                     LL
                                                       C
                                                     I r y      2
                                                          (c, 4 0
                                                     z
                                                           < ,L °   13          4.      On information and belief, Defendant The Anthem Companies of California("The
                                                     >0
                                                            <
                                                                    14 Anthem Companies") is a California corporation which conducts insurance operations throughout
                                                       <    z
                                                            <
                                                     W
                                                     I -z
                                                     zz<0 <         15   California. The Anthem Companies markets and issues health insurance and/or insurers, issues,
                                                       <
                                                       <
                                                     Z }— J >
                                                     0z w
                                                     F— <
                                                                    16 administers and/or makes coverage and benefit determinations, and develops and applies
                                                       (/)


                                                                    17 substance use disorder and mental health treatment and laboratory services guidelines in making

                                                                    18 coverage and benefit determinations related to the health care policies at issue herein. The

                                                                    19 Anthem Companies is licensed and/or regulated by the CDI and/or the CDMHC to transact the

                                                                    20 business of insurance in the State of California, is in fact transacting the business of insurance in

                                                                    21   the State of California, and is thereby subject to the laws and regulations of the State of California.

                                                                    22          5.      On information and belief, Defendant The Anthem Companies, Inc.("Anthem

                                                                    23 Companies, Inc.") is an Indiana corporation which conducts insurance operations throughout

                                                                    24 California. Anthem Companies, Inc. markets and issues health insurance and/or insurers, issues,

                                                                    25 administers and/or makes coverage and benefit determinations, and develops and applies

                                                                    26 substance use disorder and mental health treatment and laboratory services guidelines in making

                                                                    27 coverage and benefit determinations related to the health care policies at issue herein. Anthem

                                                                    28 Companies, Inc. is licensed and/or regulated by the CDI and/or the CDMHC to transact the

                                                                                                                      -3-
                                                                                                                   COMPLAINT
                             Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 5 of 41 Page ID #:16



                                        business of insurance in the State of California, is in fact transacting the business of insurance in

                                        the State of California, and is thereby subject to the laws and regulations of the State of California.

                                                6.       On information and belief, Defendant Anthem Insurance Companies, Inc.

                                        ("Anthem Insurance Companies") is an Indiana corporation which conducts insurance operations

                                        throughout California. Anthem Insurance Companies markets and issues health insurance and/or

                                        insurers, issues, administers and/or makes coverage and benefit determinations, and develops and

                                        applies substance use disorder and mental health treatment and laboratory services guidelines in

                                        making coverage and benefit determinations related to the health care policies at issue herein.

                                        Anthem Insurance Companies is licensed and/or regulated by the CDI and/or the CDMHC to

                                        transact the business of insurance in the State of California, is in fact transacting the business of

                                        insurance in the State of California, and is thereby subject to the laws and regulations of the State

                                        of California.
                      0
CALLAHAN & BLAINE




                    z0
                    0
                             ti    2
                             ▪ .4-
                    0 z
                      — <
                     ,z
                                                7.       On information and belief, Defendant Viant Inc. ("Viant") is a Nevada corporation
                    cf ui z „
                    0              _J

                                        which conducts insurance operations throughout California. Viant provides health care payment
                             0
                                  az

                    ¢   W o       ws
                    Z
                    0     i
                          ‘
                          z
                            Z
                              <         solutions and offers auditing and reimbursement of behavioral health and substance use disorder
                        W <
                    Cf)
                    W
                    U- Z
                    0 0 Z
                    X • <
                                        claims and costs, as well as prepayment services such as treatment facility bill review and
                             cn


                        co              professional negotiation, on policies insured/administered by Defendants. Plaintiff is informed

                                        and believes, and based thereon alleges, that Viant is licensed and/or regulated by the CDI and/or

                                        the CDMHC to transact the business of insurance in the State of California, is in fact transacting

                                        the business of insurance in the State of California, and is thereby subject to the laws and

                                        regulations of the State of California.

                                               8.        On information and belief, Defendant MultiPlan, Inc. ("MPI") is a New York

                                        corporation which conducts insurance operations throughout California and at all times relevant

                                        herein, operated as and/or controls its subsidiary NCN, LLC which does business as National Care

                                        Network. MPI is a provider of healthcare cost management solutions, specializing in providing

                                        claim cost management solutions for controlling the financial risks associated with health care

                                        bills on policies insured/administered by Defendants. MPI also offers preferred provider

                                        organization network solutions for accessing hospitals, ancillary care facilities, treatment facilities,

                                                                                      -4-
                                                                                   COMPLAINT
                                      Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 6 of 41 Page ID #:17



                                                        1   and health care professionals for the benefit and at the control and direction of Defendants.

                                                        2 Plaintiff is informed and believes, and based thereon alleges, that MPI is licensed and/or regulated

                                                        3   by the CDI and/or the CDMHC to transact the business of insurance in the State of California, is

                                                        4 in fact transacting the business of insurance in the State of California, and is thereby subject to the

                                                        5   laws and regulations of the State of California.

                                                        6           9.      On information and belief, Defendant Healthrisk Resource Group, Inc.("HRGI") is

                                                        7 an Iowa corporation which conducts insurance operations throughout California. HRGI is a

                                                        8   provider of healthcare cost management solutions and health care cost containment solutions,

                                                        9 specializing in providing claim cost management solutions for controlling the financial risks

                                                       10 associated with health care bills on policies insured/administered by Defendants. HRGI also

                                                       11   offers preferred provider organization network solutions for accessing hospitals, ancillary care
                    0
                    0                                  12 facilities, treatment facilities, and health care professionals for the benefit and at the control and
CALLAHAN & BLAINE




                                           .1
                    Z
                    - <
                    z .2
                                                       13   direction of Defendants. Plaintiff is informed and believes, and based thereon alleges, that HRGI
                                                  <
                                                  _J
                    >
                                                       14 is licensed and/or regulated by the CDI and/or the CDMHC to transact the business of insurance in
                    0                      c=

                                      E
                    3 HUTTON CENTRE




                                       wa
                                       Z _J
                                      <0
                                                  0
                                                       15   the State of California, is in fact transacting the business of insurance in the State of California,
                                      < a.         •
                                      < W
                                      -
                                      I -1

                                      <
                                           Fj-j
                                                       16 and is thereby subject to the laws and regulations of the State of California.
                                      U)

                                                       17           10.    Plaintiff does not know the true names and capacities of Defendants sued as Does 1

                                                       18 through 25, inclusive, and therefore sues such Defendants with such fictitious names. Plaintiff

                                                       19 will amend this Complaint, if necessary, to allege their true names and capacities when they have

                                                       20 been ascertained. Plaintiff is informed and believes, and based thereon alleges, that each of the

                                                       21   named and fictitiously named Defendants are involved in and responsible for the events,

                                                       22 transactions and/or occurrences alleged in the Complaint, as well as the herein alleged damages

                                                       23 caused to Plaintiff.

                                                       24          1 1.    Plaintiff is informed and believes that, at all relevant times, each of the Defendants

                                                       25   was and is the agent, servant, representative, undisclosed principal and/or alter ego of each of the

                                                       26 other Defendants, and in doing the things herein alleged, each of the Defendants was acting in the

                                                       27 scope of its authority as such agent, servant, representative, undisclosed principal and/or alter ego,

                                                       28 and with the permission and consent of each of the other Defendants.

                                                                                                         -5-
                                                                                                      COMPLAINT
                                                  Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 7 of 41 Page ID #:18



                                                               1           12.     Plaintiff is informed and believes that, at all relevant times, Defendants are the alter

                                                               2 egos of the other Defendants, have comingled assets, have comingled business operations, have

                                                               3   undercapitalized operations, have ignored corporate formalities, and have exercised such dominion

                                                               4 and control over the operations of the other Defendants that it would be unjust to permit such

                                                               5   Defendants to avoid individual liability. Plaintiff is further informed and believes, and based

                                                               6 thereon alleges, that a unity of interest and ownership exists between Defendants, that any

                                                               7 individuality and separateness between Defendants have ceased, and that Defendants are the alter

                                                               8 egos of one another. On information and belief, Plaintiff understands and believes that Defendants

                                                               9 share the same common ownership, places of business, managements, and operate as a single

                                                              10 enterprise.

                                                              11           13.    Plaintiff is informed and believes, and based thereon alleges, that each of the
                                            cc
                                            0
                                                              12 Defendants formed and operated a conspiracy with each of the other Defendants to perform the
CALLAHAN & BLAINE
                     ONAL LAW CORPORATION




                                            0
                                            u_
                                                        2
                                                      N,0
                                            z           0     13   acts alleged herein, in furtherance of a common design to place profits over patients and damage
                                            Z         r
                                            ui X
                                            >0
                                               ti.        Z   14 substance use disorder treatment providers, including Plaintiff, and with knowledge that the
                                                t
                                            W 0 Li,' f,
                                                Z
                                            zz<0<             15 conduct alleged herein of each of the Defendants constituted violations of law and provided
                    (/)                           <
                    Tu_L , 0
                    O0     Z
                       1-- <
                                                              16 substantial assistance or encouragement to each other to so act against insured patients and
                    a. I-- Cr)
                    <

                                            cr,               17 substance use disorder treatment providers, including Plaintiff

                                                              18                            BRIEF STATEMENT OF THE CASE

                                                              19           14.    Plaintiff is an out-of-network alcoholism and substance use disorder treatment

                                                              20 provider. Plaintiff is in the profession of helping individuals recover from alcoholism and

                                                              21   addiction and return to their families and communities as productive and contributing members of

                                                              22 society. Plaintiff provided verified, preauthorized and covered substance use disorder and mental

                                                              23   health treatment to 104 individuals with health insurance that was marketed, sold, insured and/or

                                                              24 administered by Defendants. The policies pay benefits for out-of-network substance use disorder

                                                              25   and mental health treatment at all levels of care, including, but not limited to, detoxification and

                                                              26 residential treatment, partial hospitalization ("PHP"), intensive outpatient("TOP"), outpatient

                                                              27 treatment("OP"), counseling and behavioral therapies, and clinical laboratory services, at seventy

                                                              28   percent(70%)of covered charges(minus any cost-sharing amounts) until the deductible/out-of-

                                                                                                                -6-
                                                                                                             COMPLAINT
                                                      Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 8 of 41 Page ID #:19



                                                                pocket maximum is met at which time Defendants pay hundred percent(100%).

                                                                       15.     Plaintiff obtained a written assignment of benefits from each of the 104 patient-

                                                                insureds at issue, by which Defendants' insureds intended to, and did, assign to Plaintiff not only

                                                                rights to payment of claims but to assert all rights and causes of action against Defendants in

                                                                connection with such claims. Moreover, Plaintiff confirmed with Defendants through the required

                                                                verification of benefits process and, if necessary, the preauthorization process, that each of the

                                                                patient-insureds and their respective treatment and services were covered by health insurance

                                                                policies issued, insured and/or administered by Defendants. At all times relevant herein,

                                                                Defendants knew that Plaintiff was treating — and would continue to treat — Defendants'

                                                                insureds/members, and that Plaintiff was not treating Defendants' insureds/members for free.

                                                                       16.     Defendants were obligated — under the law and the policies — to pay Plaintiff 70%
                                        NINTH FLOOR




                                                                of its billed charges(minus any cost-sharing amounts)for the mental health and substance use
CALLAHAN & BLAINE
                    PROFESSIONAL LAW CORPORATION




                                                      N 4- 0
                                                           2

                                                        "1. 0   disorder treatment that Plaintiff rendered to Defendants' insureds/members, all 104 of them, until
                                                       ;


                                  >
                                  - LI.                         the deductible/out-of-pocket maximum is met at which time Defendants pay 100%. Defendants
                                     W


                                   ZZ
                                        <
                                          Z
                                          0<
                                          20
                                                                also advised and confirmed with Plaintiff during the verification of benefits process for each of the
                                   1.11 <

                                   < W
                                 Z
                                 0Z                             104 insureds at issue herein, that the out-of-network policy benefits paid by Defendants to out-of-

                                                                network treatment providers, like Plaintiff, for all levels of substance use disorder and mental

                                                                health treatment is 70% of covered expenses(minus any cost-sharing amounts) until the

                                                                deductible/out-of-pocket maximum is met at which time Defendants pay 100%.

                                                                       17.     Instead of paying Plaintiff per the policies and the law and in accordance with

                                                                Defendants' agreements and representations to Plaintiff, Defendants engaged in unfair,

                                                                unreasonable, illegal, incomplete, fraudulent and systematic polices, practices and decisions — with

                                                                an emphasis on profits over patients — and paid Plaintiff a mere 25.9% of its billed charges for the

                                                                substance use disorder and mental health treatment rendered to Defendants' insureds/members. It

                                                                was only after Plaintiff rendered the mental health and substance use disorder treatment at issue

                                                                that Defendants breached the policies, violated the law, reneged on their promises and

                                                                representations to Plaintiff and refused to properly compensate Plaintiff for the treatment and

                                                                services rendered to Defendants' insureds/members.

                                                                                                             -7-
                                                                                                          COMPLAINT
                                        Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 9 of 41 Page ID #:20



                                                                18.    During the claim submission and payment process, Defendants put Plaintiff on

                                                    2 various pre-payment review and program integrity audits, and through their various departments,

                                                    3 Defendants repeatedly requested the same documents and information from Plaintiff, over and

                                                    4 over again. Plaintiff complied with Defendants' repetitive requests and despite being released

                                                    5 from the audits and promised payment pursuant to the policies — and in some cases repricing

                                                    6 agreements — Defendants refused to properly reimburse Plaintiff for the mental health and

                                                    7 substance use disorder treatment that Plaintiff provided to Defendants' insureds/members.

                                                    8 Defendants' audits, repetitive document and information requests and promises of payment to

                                                    9 Plaintiff were false and fraudulent and were implemented by Defendants, and each of them, as a

                                                   10 pretext to illegally and fraudulently delay and deny Plaintiff(and hundreds of other substance use

                                                   11   disorder treatment centers and laboratory providers) payment in accordance with the law and
                             O
                                                   12 policies.
CALLAHAN & BLAINE




                    z0
                    0
                                        0
                    <
                    CC I--
                                             "4:
                    0Z
                    0_
                       Z                L' C
                                             0     13           19.    As a result, Plaintiff has suffered and continues to suffer general and incidental
                                            ;§
                    O
                             ui
                                        0
                                          ' 1Z <
                                                   14 damages according to proof, including the benefits owed under the policies in the millions, the
                    -J 0
                                            -
                       A PROFESSIONAL
                    3 HUTTON CENTRE




                                        C.) W f,
                                           Z -J
                                        <- O <
                                        Z    0
                                                   15   interruption in Plaintiff's business, lost business opportunities, lost profits and other consequences,

                                        <
                                                   16 and moreover, Plaintiff is entitled to injunctive relief and statutory and prejudgment interest and
                                        U)

                                                   17 attorney's fees against Defendants, and each of them, for their misconduct and bad faith business

                                                   18   and insurance practices.

                                                   19                       AMERICA'S OPIOID AND ADDICTION EPIDEMIC

                                                   20          20.     Now, as never before, there is a critical need for access to treatment for substance

                                                   21   use disorders. The Substance Abuse and Mental Health Services Administration(SAMHSA)

                                                   22 estimates that in 2014, 20.2 million adult Americans, or 8.4 percent of the adult population

                                                   23 suffered from a substance use disorder within the past year.' According to the President's

                                                   24 Commission on Combatting Drug Addiction and the Opioid Crisis(November 2017), heroin

                                                   25   overdose deaths increased four-fold from 2010 to 2015, while overdose deaths due to prescription

                                                   26

                                                   27    See Rachel N. Lipari & Struther L. Van Horn, Trends in Substance Use Disorders in Adults 18
                                                        and Older (June 29, 2017), retrieved on May 23, 2019 from
                                                   28   https://www.samhsa.gov/data/sites/default/files/report 2790/ShortReport-2790.html.

                                                                                                     -8-
                                                                                                  COMPLAINT
                        Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 10 of 41 Page ID #:21



                                       1   opioids consistently outpaced even the disturbingly high heroin overdose rates.2 Drug overdoses

                                       2   now cause more deaths than either car accidents or guns, and those suffering from substance use

                                       3   disorders are at the highest risk.

                                       4          21.     On average, 130 Americans die every day from an opioid overdose. The opioid

                                       5   crisis has and continues to destroy lives and devastate families and communities.3 It is the

                                       6   deadliest drug crisis in United States history and it is only getting worse.4 In 2017 alone,

                                       7   California lost 2,196 lives to the opioid epidemic. Timely access to life-sustaining and life-saving

                                       8   treatment and continuing care for substance use and mental health disorders is critical to

                                       9 preventing these deaths and allowing people to achieve long-term recovery and to return to their

                                      10   families, friends and communities as healthy, productive and contributing members of society.5

                                      11          22.     Addiction is recognized as a chronic, relapsing brain disorder characterized by
                      cc

                                      12   compulsive drug seeking, continued use despite harmful consequences, and long-lasting changes
                      0
CALLAHAN & BLAINE




                    z0
                    0
                      LL
                    ▪    (0,a 0
                    O Z_
                            ,         13   in the brain. Addiction is considered both a complex brain disorder and a mental illness. The
                      Z E     5
                    8 Ili
                      > 0 .7-
                    5 —
                      a
                              z       14   brain changes can be long lasting and can lead to many harmful, often self-destructive, behaviors.
                    ▪      C   w
                    "s" CY
                    Z
                    0F Q
                               Z
                               0<     15   Addiction is the most severe form of a full spectrum of substance use disorders, and is a medical
                    •      <     °
                    • °<
                    11- Z
                    00 Z
                    •      <
                               W
                               Frv-
                                      16
                    <
                                      17
                                           2
                                      18      See President's Commission on Combatting Drug Addiction and the Opioid Crisis, Final Report,
                                           at p. 32, retrieved on May 23, 2019 from
                                      19   https://wwvv.whitehouse.gov/sites/whitehouse.gov/f
                                                                                           i les/images/Final_Report_Draft_11-15-
                                           2017.pdf.
                                      20   3
                                             See Centers for Disease Control and Prevention, Understanding the Epidemic, retrieved on May
                                           28, 2019 from https://www.cdc.gov/drugoverdose/epidemic/index.html.
                                      21   4
                                             See California Department of Public Health, Patterns of Opioid-Related Overdose Deaths in
                                      22   California, 2011-2017 (March 2019), retrieved on June 12, 2019 from
                                           https://www.cdph.ca.gov/Programs/CCDPHP/DCDIC/SACB/CDPH%20Document%20Library/Pr
                                      23   escription%20Drug%200verdose%20Program/Injury%20Data%20Brief%200pioid%200verdose
                                           %20Deaths%202011-2017 ADA.pdf.
                                      24   5
                                            The human impact of the opioid epidemic — from babies born dependent, the emotional toll on
                                         individuals with a substance use disorder, and that of their families and communities, to the tens of
                                      25 thousands of lives cut short each year — has been tremendous. Now, reports show that the
                                         economic impact has been just as shocking, with the drug crisis costing the U.S. economy $1
                                      26 trillion since 2001 and likely to cost the economy an additional $500 billion by 2020 if the current
                                         rates of addiction and overdose remain steady. See Altarum, Solutions to Advance Health:
                                      27 Economic Toll of Opioid Crisis in U.S. Exceeded $1 Trillion Since 2001 (February 13, 2018),
                                         retrieved on June 5, 2019 from https://altarum.org/news/economic-toll-opioid-crisis-us-exceeded-
                                      28 1-trillion-2001.

                                                                                       -9-
                                                                                    COMPLAINT
                                                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 11 of 41 Page ID #:22



                                                                       illness caused by repeated misuse of a substance or substances.6 Without treatment and

                                                                       engagement in recovery activities, addiction is progressive and can result in unemployment,

                                                                       homelessness, disability and premature death.

                                                                              23.     Substance use disorder treatment is difficult and the challenges of recovery from

                                                                       addiction are many, which can involve cycles of recurrence and remission before long-term

                                                                       recovery is realized. Timely access to treatment and continuing care, including detoxification and

                                                                       residential treatment, intensive outpatient and outpatient services, counseling and behavioral

                                                                       therapies, social support and supportive sober living environments, are critical for people to

                                                                       recover from addiction and reclaim active and meaningful lives. Clinical laboratory services are

                                                                       recognized as an appropriate and important diagnostic procedure in substance use disorder and

                                                                       mental health treatment as such services promote prevention, diversion, early detection, and
                                                     0
                                                                       lifelong recovery from addiction. Such testing is designed to provide accurate results that help
CALLAHAN & BLAINE
                    A PROFESSIONAL LAW CORPORATION




                                                     0
                                                     —J
                                                           0
                                                               V
                                                     z
                                                     — — (.)
                                                     z
                                                                       physicians and treatment clinicians create a scientifically designed drug monitoring strategy for
                                                        ;
                                                     Lu cq
                                                     —GL           <
                                                                       optimal treatment outcomes, which includes testing for accurate prescription therapy and
                                                         I 0 uj

                                                            0
                                                             Z
                                                                       medication assisted treatment.?
                                                     o<            §
                                                     Z —
                                                     0Z
                                                     - ate
                                                                              24.     Families and individuals purchase health insurance to help cover the costs of health

                                                     c                 care, including the costs of substance use disorder and mental health treatment. Health insurance

                                                                       is supposed to provide people and families with peace of mind and security, and provide them

                                                                       with access and options for life-sustaining and life-saving health care while preventing families

                                                                       and individuals from experiencing financial crises, such as bankruptcy or home foreclosure, or

                                                                       being forced to choose between paying for rent, utilities and food or paying for necessary health

                                                                       6
                                                                         See National Institute of Drug Addiction, The Science of Drug Use and Addiction: The Basics,
                                                                       retrieved on May 29, 2019 from https://www.drugabuse.gov/publications/media-guide/science-
                                                                       drug-use-addiction-basics; see also, American Society of Addiction Medicine, Public Policy
                                                                       Statement: Definition of Addiction, retrieved on June 13, 2019 from
                                                                       https://-www.asam.org/docs/default-source/public-policy-
                                                                       statements/definition_of addiction_long 4-1 1.pdf?sfvrsn=a8f64512_4.


                                                                          See American Society of Addiction Medicine, Public Policy Statement on Drug Testing as a
                                                                       Component of Addiction Treatment and Monitoring Programs and in other Clinical Settings,
                                                                       retrieved on May 29, 2019 from https://wvvw.asam.org/docs/default-source/public-policy-
                                                                       statements/ldrug-testing---clinical-10-10.pdf.

                                                                                                                   - 10 -
                                                                                                                COMPLAINT
                       Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 12 of 41 Page ID #:23



                                     care costs.

                                             25.     Traditionally, insurers and employers have covered treatment for mental health

                                     conditions, including substance use disorders, less favorably than treatment for physical health

                                     conditions, including higher cost-sharing obligations for patients, more restrictive limits on the

                                     number of inpatient days and outpatient visits, and more onerous prior authorization requirements.

                                     To address this unequal treatment, Congress first passed a mental health parity law in 1996, and

                                     many states followed suit in the following decade by passing laws of their own. Among other

                                     limitations, however, the 1996 act did not address the treatment of substance use disorders.

                                     Congress addressed this gap in passing the historic Paul Wellstone and Pete Domenici Mental

                                     Health Parity and Addiction Equity Act of 2008(MHPAEA),42 U.S.C. § 300gg-26, which,

                                     among other things, prohibits most plans governed by the Employee Retirement Income Security
                      0
                    z0               Act of 1974("ERISA"), 29 U.S.C. §§ 1001 et seq., from imposing different treatment limits, cost-
CALLAHAN & BLAINE




                    0
                      z
                        (;. 0
                    0z
                        <
                      z z v§
                                     sharing and in-network and out-of-network coverage on mental health and substance use disorder
                    0
                      > U_
                        .7
                         J
                                     treatment than are imposed on other medical and surgical services.8 Furthermore, ERISA requires
                    -J a
                    _J w
                           •    1
                                '5

                    OzZ
                      <
                           •
                            - Z _J
                                <
                                0
                                     fiduciaries to act solely in the interests of plan participants and beneficiaries, and to decide claims
                       <
                     Z
                    00 Z             for health care benefits in accordance with plan documents and under a full and fair procedure.
                      H (1)
                      D

                                            26.     The Patient Protection and Affordable Care Act of 2010("PPACA"),42 U.S.C. §§

                                     18001, et seq., also known as the Affordable Care Act or Obamacare, requires a range of health

                                     polices, both inside and outside of the exchanges, to provide a core package of essential health

                                     benefits including mental health and substance use disorder services and laboratory services. 42

                                     U.S.C. § 18022. The PPACA extends the impact of the MHPAEA so that many health policies

                                     must offer coverage for mental health and substance use disorder services and laboratory services

                                     with at least an equal level of benefits as the policies offer for the treatment of medical and


                                     8
                                       California has its own Mental Health Parity Act("MHPA"), codified in Insurance Code section
                                     10144.5 and Health and Safety Code section 1374.72, which, like the MHPAEA, requires mental
                                     health care coverage to be provided "under the same terms and conditions applied to other medical
                                     conditions." California law also requires health care plans to "provide all covered mental health
                                     and substance use disorder benefits in compliance with the [MHPAEA] and all rules, regulations,
                                     and guidance issued" pursuant to federal laws. Cal. Ins. Code §§ 10144.4, 10112.27; Cal. Health
                                     & Safety Code § 1374.76.


                                                                                COMPLAINT
                    Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 13 of 41 Page ID #:24



                            surgical benefits. However, as President Donald J. Trump's commission on the opioid crisis wrote

                            in its November 2017 report, "health insurers are not following the federal law requiring parity in

                            the reimbursement for mental health and addiction [;] [t]hey must be held responsible."9

                                         'SCHEME TO DENY ACCESS AND COVERAGE FOR CRITICALLY-
                                DEFENDANTS

                                                NEEDED SUBSTANCE USE DISORDER TREATMENT

                                    27.     Despite the above statutory requirements, and the obvious individual and public

                             health interests in timely access to and coverage for substance use disorder and mental health

                            treatment and laboratory services, Defendants, and each of them and their controlled agents and/or

                             undisclosed principals, are engaged in unfair, unreasonable, incomplete, fraudulent and systematic

                             policies, practices and decisions (against the substance use disorder treatment profession as a

                             whole and Defendants' members/insureds in need of substance use disorder treatment) that have

                             and continue to result in the unlawful and fraudulent denial, underpayment, delay and/or flat-out
CALLAHAN & BLAINE




                            refusal to authorize and decide access, coverage and claims for mental health and substance use

                             disorder treatment and laboratory services for patients whose policies promise, and the law

                            requires, access to and coverage for such services and benefits. Defendants' systematic practices

                             have and continue to result in restrictive prior authorization requirements and restrictive limits on

                            the number of substance use disorder treatment days and tests. Defendants' access, coverage and

                            claims-handling policies, practices and decisions are imposing unlawful barriers between patients

                             and life-saving substance use disorder treatment they desperately need. And Defendants are doing

                            this in the middle of an opioid and addiction epidemic! Defendants' impermissible barriers to

                            substance use disorder treatment and laboratory services must be removed and Defendants must be

                             held responsible for placing profits over patients in a life and death situation.

                                    28.     Defendants' substance use disorder and mental health treatment and laboratory

                            access, coverage and claims-handling policies, practices and decisions as a whole violate the law

                            9
                              See President's Commission on Combatting Drug Addiction and the Opioid Crisis, Final Report,
                            at pp. 9 and 122, retrieved on May 23, 2019 from
                            https://www.whitehouse.gov/sites/whitehouse.gov/files/images/Final Report_Draft_1 1-15-
                            2017.pdf. Roster of Commissioners include Governor Chris Christie, Chairman, Governor Charlie
                            Baker, Governor Roy Cooper, Congressman Patrick J. Kennedy, Professor Bertha Madras, Ph.D.,
                            Florida Attorney General Pam Bondi.

                                                                          - 12 -
                                                                       COMPLAINT
                           Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 14 of 41 Page ID #:25



                                                  1   and the policy documents. For instance, Plaintiff is informed and believes, and based thereon

                                                  2   alleges, that Defendants unreasonably limit the number of detoxification and residential treatment

                                                  3   days, and impermissibly and unreasonably require preauthorization for PHP, IOP and OP

                                                  4   treatment and then limit the number of treatment days at each level of care.10 Plaintiff is also

                                                  5 informed and believes, and based thereon alleges, that Defendants reimburse detoxification and

                                                  6   residential treatment, PHP and IOP levels of care at nominal percentages of the covered charges.

                                                  7   Plaintiff is further informed and believes, and based thereon alleges, that Defendants refuse to

                                                  8   reimburse OP claims and refuse to reimburse claims for breathalyzer tests, counseling services and

                                                  9   services of treatment case managers. Moreover, Plaintiff is informed and believes, and based

                                                 10   thereon alleges, that Defendants utilize illegal and overly restrictive medical necessity criteria and

                                                 11   guidelines in order to deny claims and profit over the health and safety of their members/insureds.
                     rz

                                                 12   Further, Plaintiff is informed and believes, and based thereon alleges, that Defendants refuse to
                     0
CALLAHAN & BLAINE




                    z0

                    :
                    9 20
                    F r
                    < = ▪n
                         cs, .4- 2
                    0 z
                    a
                    o -Q7-
                      z- ;
                                                 13   pay for claims at all levels of care based on purported overpayments for substance use disorder
                    o           z
                         US icS
                             e

                                                 14   treatment of other patients covered by other policies issued and/or administered by Defendants. In
                    .1          i
                                - 1
                         w

                    O
                                 - z
                                < 0 <
                                z
                                                 15   addition, Plaintiff is informed and believes, and based thereon alleges, that Defendants refuse to
                                <            °
                    W                 a
                                      t fj
                    W           <

                    O
                    Ct
                                Z
                                <
                                                 16 pay for clinical laboratory claims as either beyond the numerical limitation and/or simply not
                         3 HU




                                                 17   covered or reimbursable. Plaintiff is also informed and believes, and based thereon alleges, that

                                                 18   Defendants make payments on claims based on inapplicable Medicare rates and demand refunds

                                                 19

                                                 20

                                                 21

                                                 22
                                                      10
                                                        Under California law, once a health insurer authorizes a specific type of treatment covered
                                                 23 under a plan and the provider has provided that treatment in good faith and pursuant to the
                                                    authorization, the insurer cannot rescind or modify that authorization for any reason. Cal. Ins.
                                                 24 Code § 796.04; Cal. Health & Safety Code § 1371.8. Moreover, California law requires that where
                                                    health insurers cannot provide their members/insureds access to needed health care providers on
                                                 25 an "in-network" basis, the insurers shall pay any "out-of-network" provider the amounts necessary
                                                    to limit the out-of-pocket cost to the patient as if an in-networker provider had provided the same
                                                 26 treatment and services. In effect, this makes an out-of-network provider eligible to receive almost
                                                    100 percent of its billed charges. Cal. Ins. Code § 10133.5; Cal. Code Regs. tit. 10, § 2240.1.
                                                 27 Further, health insurers are required to reimburse health care providers at almost 100 percent of
                                                    the billed charges for emergency services. Cal. Ins. Code § 10112.7; Cal. Health & Safety Code §
                                                 28 1317; Cal. Code Regs., tit. 28, § 1300.67.

                                                                                                  - 13 -
                                                                                                COMPLAINT
                        Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 15 of 41 Page ID #:26



                                     1   on other claims that it asserts should have been paid at inapplicable Medicare rates.1 1 Plaintiff is

                                     2 further informed and believes, and based thereon alleges, that at times Defendants pay the benefits

                                     3 owed directly to the treatment insured (which for an individual recently discharged from substance

                                     4 use disorder treatment can be a relapse trigger and death certificate) without a 1099 tax form,

                                     5   thereby depriving the state and federal government of substantial tax revenue.

                                     6          29.     Plaintiff is informed and believes, and based thereon alleges, that Defendants'

                                     7 objective is to deny their members/insureds access to and coverage for critically-needed substance

                                     8   use disorder detoxification and residential treatment, limit the number of authorized detoxification

                                     9 and residential treatment days, limit the number of authorized PHP,IOP and OP substance use

                                    10 disorder treatment days, rush their members/insureds into OP substance use disorder treatment,

                                    11   refuse to reimburse OP claims, deny and/or underpay all other substance use disorder and mental
                     0
                                    12 health treatment and laboratory claims, and then demand refunds on paid claims and subject the
CALLAHAN & BLAINE




                    z0
                    o Jr
                    < x N
                        co-'
                          )
                    0 z < 1' o.     13 remaining claims to improper and inapplicable Medicare rates, all in violation of the law and the
                    0 in- E
                       >            14 policy documents and to the detriment of their members/insureds in need of life-saving substance
                            —
                        w 0 zJ
                            6j It
                     z <0<
                     o              15   use disorder treatment and to the detriment of substance use disorder treatment centers and
                    (7) z
                     Cl) <
                    •      <   --
                    u- z
                    00 Z
                           <
                                    16 laboratory providers, like Plaintiff.
                    0- I-- w
                    <

                                    17                       DEFENDANTS'SCHEME SPECIFIC TO PLAINTIFF

                                    18          30.     Plaintiff is an out-of-network alcoholism and substance use disorder treatment

                                    19 provider. Plaintiff is in the profession of helping individuals recover from alcoholism and

                                    20 addiction and return to their families and communities as productive and contributing members of

                                    21   society. Plaintiff provided verified, preauthorized and covered mental health and substance use

                                    22 disorder treatment to 104 individuals with health insurance that was sold, insured and/or

                                    23 administered by Defendants. The policies pay benefits for out-of-network substance use disorder

                                    24 and mental health treatment and laboratory services at 70% of covered charges(minus any cost-

                                    25

                                    26   11
                                           The California Department of Insurance found and concluded in its July 23, 2018 Order to
                                        Show Cause In the Matter ofthe Certificate ofAuthority ofHealth Net Life Insurance Company
                                    27 (CDI File No. UPA-2016-00005), that Medicare does not provide a rate for inpatient or outpatient
                                        substance use disorder treatment provider charges and that substituting a bundled per diem
                                    28 Medicare rate for such treatment charges violates state and federal parity laws.

                                                                                      - 14 -
                                                                                   COMPLAINT
                          Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 16 of 41 Page ID #:27



                                           sharing amounts) until the deductible/out-of-pocket maximum is met at which time Defendants

                                           pay 100%.

                                                  31.     Plaintiff obtained a written assignment of benefits from each of the 104 patient-

                                           insureds at issue, by which Defendants' insureds/members intended to, and did, assign to Plaintiff

                                           not only rights to payment of claims but to assert all rights and causes of action against Defendants

                                           in connection with such claims. Moreover, Plaintiff confirmed with Defendants through the

                                           required verification of benefits process and, if necessary, the preauthorization process, that each

                                           of the patient-insureds and their respective treatments were covered by health insurance policies

                                           issued and/or administered by Defendants. At all times relevant herein, Defendants knew that

                                           Plaintiff was treating — and would continue to treat — Defendants' insureds/members, and that

                                           Plaintiff was not treating Defendants' insureds/members for free.
                     0
                    z0                            32.     The treatment and claim documents concerning each of the subject 104 patient-
CALLAHAN & BLAINE




                    <    cs,     2
                      t—     *4- 0
                    0Z
                               <
                                 O         insureds treated by Plaintiff contain personal health and treatment information protected by law
                          W-
                                           from public disclosure pursuant to, inter alia, the Health Insurance Portability and Accountability
                          WU w
                             z
                    z
                    •          1- 0
                                      —J
                                           Act of 1996("HIPAA"). Once a Protective Order is in place, Plaintiff will produce its claims data
                    CT)        < M
                    w     ir3u-
                    w <
                    •z
                    00H<F
                       zL1
                    z-HU)
                                           report to Defendants. The report will set forth the subject patient's initials and member
                    <

                          co               identification number, the service start and end dates, the amounts billed and paid, and the

                                           outstanding balance. Plaintiff is informed and believes that with Plaintiff's company name and

                                           TIN, Defendants can access a trove of information on each of Plaintiffs patients, including, but

                                           not limited to, the patient's name, date of birth, gender, family relationships, name and type of

                                           insurance plan/policy and state of issuance, dates of coverage, dates of service, types and levels of

                                           care provided, billed amounts claimed, explanations of benefits paid or denied, and appeals and

                                           grievances regarding claims denied. Plaintiff is informed and believes that the information

                                           available to Defendants through Plaintiff's company name and TIN is sufficient enough to apprise

                                           Defendants of the substance of Plaintiffs claims.

                                                  33.     Defendants were obligated — under the law and the policies — to pay Plaintiff 70%

                                           of its billed charges(minus any cost-sharing amounts)for the mental health and substance use

                                           disorder treatment that Plaintiff rendered to Defendants' insureds/members, all 104 of them, until

                                                                                       - 15 -
                                                                                    COMPLAINT
                    Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 17 of 41 Page ID #:28



                            the deductible/out-of-pocket maximum is met at which time Defendants pay 100%. Defendants

                            also advised and confirmed with Plaintiff during the verification of benefits process for each of the

                             104 insureds at issue herein, that the out-of-network policy benefits paid by Defendants to out-of-

                            network treatment providers, like Plaintiff, for all levels of substance use disorder and mental

                            health treatment is 70% of covered expenses (minus any cost-sharing amounts) until the

                            deductible/out-of-pocket maximum is met at which time Defendants pay 100%.

                                    34.    Instead of paying Plaintiff per the policies and the law and in accordance with

                            Defendants' agreements and representations to Plaintiff, Defendants engaged in unfair,

                            unreasonable, illegal, incomplete, fraudulent and systematic polices, practices and decisions — with

                            an emphasis on profits over patients — and paid Plaintiff a mere 25.9% of its billed charges for the

                            treatment rendered to Defendants' insureds/members. It was only after Plaintiff rendered the

                            substance use disorder and mental health treatment at issue that Defendants breached the polices,
CALLAHAN & BLAINE




                            violated the law, reneged on their payment promises and representations to Plaintiff and refused to

                            properly compensate Plaintiff for the treatment and services rendered to Defendants'

                            insureds/members.

                                    35.    During the claim submission and payment process, Defendants put Plaintiff on

                            various pre-payment review and program integrity audits, and through their various departments,

                            Defendants repeatedly requested the same documents and information from Plaintiff, over and

                            over again. Plaintiff complied with Defendants' repetitive requests and despite being released

                            from the audits and promised payment pursuant to the policies — and in some cases repricing

                            agreements — Defendants refused to properly reimburse Plaintiff for the substance use disorder and

                             mental health treatment that Plaintiff provided to Defendants' insureds/members. Defendants'

                            audits, repetitive document and information requests and promises of payment to Plaintiff were

                            false and fraudulent and were implemented by Defendants, and each of them, as a pretext to

                            illegally and fraudulently delay and deny Plaintiff(and hundreds of other substance use disorder

                            treatment providers) payment in accordance with the law and policies.

                                    36.    As a result, Plaintiff has suffered and continues to suffer general and incidental

                            damages according to proof, including the benefits owed under the policies in the millions, the

                                                                         - 16 -
                                                                      COMPLAINT
                     Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 18 of 41 Page ID #:29



                           1   interruption in Plaintiffs business, lost business opportunities, lost profits and other consequences,

                           2 and moreover, Plaintiff is entitled to injunctive relief and statutory and prejudgment interest and

                           3   attorney's fees against Defendants, and each of them.

                           4           37.     Defendants' conduct has had a severe and adverse effect on not only Plaintiff, but

                           5   also on Defendants' insureds/members and the substance use disorder treatment profession as a

                           6   whole. Defendants' conduct has placed the lives of their insureds/members that are struggling

                           7 with addiction in jeopardy, exposing the insured/member patients and their families to significant

                           8 financial and health risk, while simultaneously destroying or significantly damaging Plaintiff and

                           9 all similarly situated substance use disorder and mental health treatment providers.

                          10           38.    Defendants' conduct breached agreements with Plaintiff which arose when

                          11   Plaintiffs patients assigned benefits to Plaintiff in writing, and when Defendants confirmed

                          12 coverage and, when necessary, gave prior approval for the substance use disorder and mental
CALLAHAN & BLAINE




                          13   health treatment that Plaintiff provided to Defendants' insureds/members. Defendants' violated

                          14 the implied covenant of good faith and fair dealing in said insurance contracts, rendering its

                          15   actions in "bad faith."

                          16           39.    Upon information and belief, Plaintiff alleges that Defendants' conduct was wanton

                    co    17 and willful, and undertaken to improve their balance sheet by placing profits over patients in a life

                          18   and death situation.

                          19          40.     Defendants' practices were also unfair, fraudulent and unlawful under California's

                         20 Unfair Competition Law ("UCL")in that, as a part of their scheme to not pay or underpay

                         21    Plaintiff, and to prevent Plaintiff from learning of their scheme for as long as possible, they

                         22 violated their claims handling obligations under California law by providing either no, baseless,

                         23 false, or dilatory reasons for not paying or underpaying Plaintiff Plaintiff is thereafter entitled to

                         24 injunctive relief and restitution under the UCL.

                         25           41.     Defendants' practices were similarly unfair, fraudulent and unlawful under state

                         26 and federal law in that they violate the MHPAEA, while simultaneously constituting common law

                         27 bad faith. The MHPAEA is an antidiscrimination statute intended to ensure that coverage of

                         28    mental health and substance abuse care and related laboratory services (such as Plaintiff provides)

                                                                            - 17 -
                                                                         COMPLAINT
                               Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 19 of 41 Page ID #:30



                                      1   is in "parity" with coverage of medical and surgical care. Defendants, and each of them, have

                                      2 systematically treated substance use disorder treatment and behavioral health treatment providers

                                      3   differently than medical and surgical providers in California.

                                      4          42.      Defendants' practices were likewise unfair, fraudulent and unlawful under state

                                      5   and federal law in that they violate the PPACA, which requires, among other things, insurers to

                                      6 provide benefits for substance use disorder and mental health treatment and laboratory services,

                                      7   with no pre-existing condition exclusions and no annual or lifetime dollar amount limits on

                                      8 coverage of such treatment and services.

                                      9          43.     Defendants' actions were further unfair, fraudulent and unlawful in that they

                                     10 violated other well established public policies, including those set forth in the California Unfair

                                     11   Insurance Practices Act("UIPA"), as set forth in California Insurance Code sections 790, et seq.

                                     12          44.     Defendants' insureds/members were also unlawfully, unfairly and fraudulently
CALLAHAN & BLAINE




                                     13   misled into believing that the insurance policies at issue would provide coverage for care supplied

                                     14 by out-of-network substance use disorder treatment centers and laboratory providers such as

                                     15 Plaintiff.
                       A PROFESSIO
                    3 HUTTON




                                     16          45.     Defendants, and each of them, never intended to provide the coverage mandated by

                                     17 the insurance policies issued and/or administered for the benefit to their insureds/members and

                                     18   instead intended to not pay or to underpay substance use disorder treatment centers and laboratory

                                     19 providers throughout California, including Plaintiff. Defendants, and each of them, have ignored

                                     20 Plaintiff's efforts to recover payment for the substance use disorder and mental health treatment

                                     21   provided to Defendants' insureds/members, placing Plaintiff in the untenable position of being

                                     22 forced to file this Complaint in order to recover payment from Defendants, and each of them,

                                     23   under the insurance policies at issue and the law.

                                     24          46.     Plaintiff is seeking relief under its direct rights, written assigned rights from

                                     25   patients cheated out of their insurance benefits by Defendants, and as third-party beneficiaries of

                                     26 its patients' policies issued and/or administered by Defendants.

                                     27          47.     Defendants have also tortuously breached the implied covenant of good faith and

                                     28 fair dealing in the underlying policies issued and/or administered by Defendants, which rights

                                                                                       - 18 -
                                                                                    COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 20 of 41 Page ID #:31



                                      have been assigned to Plaintiff

                                             48.     The substance use disorder and mental health treatment at issue herein were

                                      provided by Plaintiff to patients who at all relevant times had health insurance for the treatment

                                      and services that Plaintiff provided and the policies of health insurance were issued and/or

                                      administered by Defendants, and each of them, or at the direction and under the control of

                                      Defendants.

                                             49.     Defendants, and each of them, caused the events complained of herein to occur in

                                      the County of Orange and throughout the State of California.

                                             50.     Plaintiff provides substance use disorder and mental health treatment to individuals

                                      in the process of recovering from alcoholism and substance abuse. Plaintiffs treatment includes a

                                      range of services, including PHP,IOP, OP, counseling, behavioral therapies, and case
                      0
                                      management services.
CALLAHAN & BLAINE




                    z0
                    0
                               2
                    <      .4.
                    cr. cy, Tr 0
                    0z
                    CL  <
                               0.            51.     Defendants, and each of them, developed, marketed, insured and/or sold the subject
                    O
                    C) '
                       Z
                       O
                       C ;
                         1
                                <
                                      health insurance policies to include coverage for substance use disorder and mental health
                    J
                         Q
                    J al 0       f,
                    0
                               Z
                               0<     treatment and laboratory services provided to their insureds/members by in-network providers
                    (7) LLI <
                     U) U        §
                            <
                      iZ
                     LW
                    00 Z
                     Cr     <
                                      ("INP") and out-of-network ("ONP")like Plaintiff.
                     CL     U)
                     <D
                                             52.     The insurance policies issued and/or administered by Defendants, and each of

                                      them, are industry standard indemnity health insurance policies that provide richer benefits (less

                                      out-of-pocket expense for insureds) for treatment and services that are obtained from INPs. Such

                                      providers contract with Defendants to become part of their "network" and generally agree to

                                      accept a set reduced rate of reimbursement in exchange for steerage of patients to INP practices or

                                      facilities and payment within specified contractual timeframes.

                                             53.     The insurance policies issued and/or administered by Defendants, and each of

                                      them, provide for a reimbursement rate for ONP services at a lesser percentage of the overall

                                      billed charges than the 100% reimbursement rate for INP services, less the insured's co-pay, co-

                                      insurance and deductible, generally resulting in greater out-of-pocket expenses for Defendants'

                                      insureds.

                                             54.     California law requires that the policy forms, such as those utilized in the insurance

                                                                                  - 19 -
                                                                               COMPLAINT
                        Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 21 of 41 Page ID #:32



                                    policies issued and/or administered by Defendants, and each of them, be filed with and approved

                                    by the CDI, and are generally not to be withdrawn from the insurance marketplace without an

                                    insurer meeting specific conditions.

                                           55.     The insurance policies issued and/or administered by Defendants, and each of

                                    them, provide coverage for but not limited to the following ONP substance use disorder treatment

                                    services: outpatient office visits (psychological evaluation or therapeutic session in an office or

                                    other outpatient setting (including individual and group therapy sessions, medication management

                                    and drug therapy monitoring); outpatient services other than office visits (psychological and

                                    neuropsychological testing, intensive outpatient care program, day treatment, partial

                                    hospitalization and other outpatient services); inpatient facility; physician visit to hospital,

                                    behavioral health facility or residential treatment center; toxicology and clinical laboratory testing
                       O
                                    and screening; and inpatient detoxification.
CALLAHAN & BLAINE




                    z0
                    0
                    <z   •a• 2
                             0
                    0z
                    •z
                       < v.
                             0
                             5
                                           56.     The insurance policies issued and/or administered by Defendants, and each of
                               <
                    0 W'
                       .
                         0
                    5 - u_    z     them, provide for the payment of services with an INP at 100% of the provider's billed charges set
                      iT
                       )
                      W      •• <
                         (-) W
                    Z
                    •
                             z
                            0<      by contract, less the insured's co-pay, co-insurance and deductible. Services with an ONP are
                      W <
                    •0
                    w    <
                    w z -1 5
                    00 z
                         < H
                                    reimbursed at a lesser percentage of the provider's billed charges.
                    a H) U

                                           57.     The insurance policies issued and/or administered by Defendants, and each of

                                    them, provide that Defendants were required to remit claim payments directly to providers when

                                    the insured assigns his or her benefits to the provider in writing, and Defendants, and each of

                                    them, confirmed this during the verification of benefits process.

                                           58.     When required by the insurance policies issued and/or administered by Defendants,

                                    and each of them, Plaintiff's standard operating procedure was to obtain prior authorization for

                                    alcoholism and substance use disorder treatment for Defendants' insureds/members. Plaintiff s

                                    standard operating procedure also included obtaining a verification of benefits from the patient's

                                    insurance company, including Defendants, to ensure the patient is covered by the insurer and that

                                    the treatment is a covered benefit under the policy.

                                           59.     In communication with Plaintiff, including telephone calls requesting verification

                                    of benefits, Defendants, and each of them, represented to Plaintiff that the services provided to

                                                                                  - 20 -
                                                                               COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 22 of 41 Page ID #:33



                                   1   Defendants' insureds/members would be reimbursed at 70% of covered charges (minus any cost-

                                   2 sharing amounts) until the deductible/out-of-pocket maximum is met at which time Defendants

                                   3 pay 100%.

                                   4          60.     Specifically, for each of the 104 patients whose substance use disorder and mental

                                   5   health treatment services are at issue, Plaintiff contacted Defendants by phone and/or in writing

                                   6 before beginning such treatments and services. Plaintiff learned that the patients, and each of

                                   7 them, were validly covered by their policies with Defendants, and Plaintiff informed Defendants

                                   8 of the proposed treatments and services of Defendants' insureds/members, including the specific

                                   9 services to be provided and the billing codes for the same. Plaintiff informed Defendants to the

                                  10 effect that Plaintiff would agree to accept the maximum allowable fee under those polices for

                                  11   Plaintiffs services, which fee is equal to 70% of covered charges (minus and cost-sharing
                       0
                                  12 amounts) until the deductible/out-of-pocket maximum is met at which time Defendants pay 100%.
CALLAHAN & BLAINE




                    z0
                    0 —1 f•--
                    7
                    1.
                         o
                    <
                       F—   0
                    0Z
                    CL
                    ctZ2,5
                          <       13 Defendants agreed to such terms, after which Plaintiff began treating Defendants'
                    8
                        >" 2 7—   14 insureds/members.
                        W
                        CY
                    Z
                                  15          61.     Based upon the language of the insurance policies issued and/or administered by
                    o w < -0.
                    ITJ° 1
                    o ozw         16 Defendants, and each of them, and upon obtaining required prior authorization and verification of
                    0- f- &)
                    <0

                                  17 benefits when necessary, and valid written assignments, Plaintiff and its patients insured by

                                  18 Defendants and/or with policies administered by Defendants, reasonably expected that Plaintiffs

                                  19 claims would be paid promptly and consistent with the law and the terms of the policies and/or the

                                  20 herein representations made by Defendants, and each of them, to Plaintiff

                                  21          62.     Notwithstanding the required prior authorization and/or verification of benefits

                                  22 when necessary, and valid written assignments, Plaintiffs claims for the majority of substance use

                                  23 disorder treatment provided to Defendants' insureds/members have not been paid properly and

                                  24 require substantial interest payments for violation of the applicable insurance policies and

                                  25   California insurance and managed health care laws providing for the prompt payment of claims.

                                  26          63.     Plaintiff is entitled to payment for its substance use disorder and mental health

                                  27 treatment services rendered to Defendants' insureds/members at the proper reimbursement rates,

                                  28

                                                                                   - 21 -
                                                                                COMPLAINT
                                                       Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 23 of 41 Page ID #:34



                                                                        pursuant to valid written assignments from its patients or, at a minimum, under a theory of

                                                                        quantum meruit.

                                                                               64.     While Defendants' breaches alleged herein involved policies issued and/or

                                                                        administered by one or more of the Defendants, each Defendant, upon information and belief,

                                                                        conceived, directed, approved, or aided and abetted the others in this bad faith scheme.

                                                                               65.     In California, a health insurer must provide or arrange for the provision of access to

                                                                        health care services in a timely manner. Most health insurers, including Defendants, and each of

                                                                        them, seek to satisfy this duty by providing an adequate network of INPs for their insureds to

                                                                        choose from so they may receive the necessary treatment at the lowest expense to the insurer and

                                                                        the insured.

                                                                               66.     A "network gap" or "network insufficiency" exists in a health insurer's network
                                                     0
                                                     0                  when either the health insurer, or the patient, is unable to secure the services of an INP for
CALLAHAN & BLAINE
                    A PROFESSIONAL LAW CORPORATION




                                                     1-1- 0
                                           •                        2
                                           H a,                     0
                                           Z
                                           z
                                             <
                                                                    0
                                                                    §
                                                                        necessary treatment. If a network gap exists, California law requires the insurer to secure the
                                                     W        N _J


                                                     • LL           <
                                                                        services of an ONP so the insurer can meet its legal and contractual obligations to provide or
                                                     0

                                                     W L.) w


                                                     ZZ
                                                       <
                                                         0<
                                                           -Z
                                                                        arrange for the provision of access to health care services in a timely manner. In addition,
                                                     W <

                                                     Z
                                                     Cl
                                                              1±j
                                                                        emergency services, and sometimes urgently needed services, must be covered by an insurer with

                                                     (,)                an ONP if the insurer has no network provider to provide the needed services.

                                                                               67.     California law does not give a health insurer the right or ability to unilaterally set

                                                                        the price it will pay an ONP that provides services to one of the insurer's insureds in order to fill a

                                                                        network gap.

                                                                               68.     Upon information and belief, there was a network gap with respect to substance use

                                                                        disorder treatment providers and clinical laboratories in California to serve the tremendous number

                                                                        of Defendants' insureds/members needing such treatment and services, due in large part to the

                                                                        opioid and addiction epidemic in California, and across the nation.

                                                                               69.     Upon information and belief, there was a network gap with respect to substance use

                                                                        disorder treatment centers and clinical laboratories required to treat Defendants'

                                                                        insureds/members, which caused some of Defendants' insureds/members to obtain the services of

                                                                        Plaintiff, an ONP.

                                                                                                                     - 22 -
                                                                                                                  COMPLAINT
                          Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 24 of 41 Page ID #:35



                                    1           70.    In the managed health care industry, a "verification" of an insured's coverage for

                                    2 the contemplated treatment, or an "authorization" for such treatment, is understood by both the

                                    3   insurers and providers to be an agreement by the insurers to pay for such treatment. For INPs, it is

                                    4 an agreement by the insurers to pay those providers based on previously negotiated rates between

                                    5   the insurer and those providers. For ONPs, it is an agreement by the insurers to pay those

                                    6   providers at their fully billed charges.

                                    7          71.     Plaintiff, as an ONP, after obtaining preauthorization and/or verification of

                                    8 coverage when necessary, provided necessary treatment and services to Defendants'

                                    9 insureds/members due to a network gap and is therefore entitled to recover payment for its

                                   10 services at its fully billed charges.

                                   11          72.     While Plaintiff has repeatedly demanded payment in full for the services provided
                         0
                                   12 to Defendants' insureds/members, Defendants, and each of them, have denied, delayed and
CALLAHAN & BLAINE




                    z0
                    0
                    R.       °
                         I
                    c
                    0z
                    •— <
                    (2 z
                                   13   incorrectly issued payment for Plaintiffs claims even after requested records were copied, sent
                          z
                     O Ul
                         >0
                          U.-      14 and received by Defendants.
                    <5 "
                    -  di
                             <
                         W


                    0
                    — Z Z
                                   15          73.     Defendants, and each of them, would respond to Plaintiffs inquiries about the
                    • L1J <
                    00
                          <

                    O
                    •
                      Z
                          Z
                          <
                                   16 delay or errors in payment with false promises that payment would be made and/or a multitude of
                             ci)

                                   17 excuses. Regardless of the excuses made by Defendants, and each of them, Plaintiff did not

                                   18 receive proper claim payments for the substance use disorder and mental health treatment

                                   19 provided to Defendants' insureds/members.

                                   20          74.     Upon information and belief, Defendants, and each of them, realized an immediate

                                   21   positive financial impact as a result of their misconduct alleged herein, cessation substance use

                                   22 disorder treatment and laboratory claims payments, and forcing treatment centers and laboratory

                                   23   providers, like Plaintiff, through an expensive, administratively burdensome and indiscriminate

                                   24 audit, and not paying claims that are due and owing under the policies and the law.

                                   25          75.     Upon information and belief, Defendants, and each of them, undertook the actions

                                   26 alleged herein with the intent and designed purpose of not paying substance use disorder treatment

                                   27 and laboratory claims that are due and owing under the law and the policies, as part of a pattern

                                   28   and practice by Defendants, and each of them, that is unlawful, unfair and fraudulent, and thus

                                                                                      - 23 -
                                                                                   COMPLAIN
                              Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 25 of 41 Page ID #:36



                                          1   violates, inter alia, California's UCL, state and federal regulations and the MHPAEA and

                                          2 PPACA.

                                          3          76.     Upon information and belief, Defendants, and each of them, undertook the actions

                                          4 alleged herein, in violation of numerous provisions of California's UIPA, without limitation,

                                          5   numerous subsections of California Insurance Code section 790.03, including misrepresentations

                                          6 to patients and providers, failing to acknowledge and act reasonably promptly in response to

                                          7 communications, failing to adopt and implement reasonable standards for investigations, not

                                          8 attempting in good faith to effectuate prompt, fair and equitable settlement of claims, and

                                          9 compelling providers to institute litigation to recover policy benefits owed.

                                         10          77.     Upon information and belief, Defendants, and each of them, developed a

                                         11   mechanism through their superior economic might to oppress treatment centers and laboratories,
                      CL
                    z0                   12 including Plaintiff, forcing Plaintiff and other treatment centers and laboratories into a position
CALLAHAN & BLAINE




                    0
                      z
                    ()-
                      z                  13   where they can no longer afford to accept patients insured by Defendants and/or with policies

                                         14 administered by Defendants, and resulting in significant and undue hardship to Plaintiff(and the
                    _.,
                    z
                          F
                               `r 0 <    15   patient-insureds) and interference with Plaintiff's contractual relationships with its patients and its
                    CO 0
                          W
                    U. z
                    00 z
                    Cr   <          r—
                                         16 prospective economic advantage. And Defendants, and each of them, are is doing this in the
                               u)

                          co             17 middle of an opioid and addiction epidemic!

                                         18                                       FIRST CAUSE OF ACTION

                                         19                                       Breach of Written Contract

                                         20                                         Against All Defendants

                                         21          78.     Plaintiff incorporates by reference all allegations set forth in each of the paragraphs

                                         22 above as if fully set forth herein.

                                         23          79.     Plaintiff provided verified, preauthorized and covered substance use disorder and

                                         24 mental health treatment to 104 individuals with health insurance that was sold, insured and/or

                                         25   administered by Defendants. The policies pay benefits for out-of-network substance use disorder

                                         26 and mental health treatment, including, but not limited to, detoxification and residential treatment,

                                         27 PHP,IOP, OP, counseling and behavioral therapies, and clinical laboratory services, at 70% of

                                         28 covered charges(minus any cost-sharing amounts) until the deductible/out-of-pocket maximum is

                                                                                           - 24 -
                                                                                        COMPLAINT
                        Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 26 of 41 Page ID #:37



                                      met at which time Defendants pay 100%. Plaintiff confirmed with Defendants through the

                                      required verification of benefits process and, if necessary, the preauthorization process, that each

                                      of the patient-insureds and their respective treatments were covered by health insurance policies

                                      issued and/or administered by Defendants. At all times relevant herein, Defendants knew that

                                      Plaintiff was treating, and would continue to treat, Defendants' insureds/members, and that

                                      Plaintiff was not treating Defendants' insureds/members for free.

                                             80.      As a condition of providing such treatment and services, Plaintiff obtained a written

                                      assignment of benefits from each of the 104 patient-insureds at issue, by which Defendants'

                                      insureds/members intended to, and did, assign to Plaintiff not only rights to payment of claims but

                                      to assert all rights and causes of action against Defendants in connection with such claims. As

                                      assignee of the patients' benefits under the policies, Plaintiff is entitled to be paid for the services
                     0
                                      rendered based on the existence and terms of the insurance policies that cover the patients. Each
CALLAHAN & BLAINE




                    z0

                                 2
                         °
                         )
                    a. — <
                      z
                                 8    of policies at issue herein provide for the same coverages, reimbursement rates and coinsurance
                      LJJ        _J


                            n"
                                      percentages, deductibles and out-of-pocket maximums.
                       6 -;
                        -z
                    O z< o0 <                81.      The policies provide in relevant part that benefits are payable for the covered
                     W
                    00
                    LIJ   <
                    LL- Z
                    00 Z
                            Ll
                             j
                                      substance use disorder and mental health treatment and laboratory services provided by Plaintiff to
                    a-  U)
                    < D

                                      Defendants insureds/members, and subject to specific conditions, exclusions and limitations, none

                                      of which apply, and applicable maximum reimbursement amounts. As stated herein, benefits for a

                                      covered expense for covered services, including mental health and substance use disorder

                                      treatment and laboratory services, are paid at 70% of the billed charges (minus any cost-sharing

                                      amounts) until the deductible/out-of-pocket maximum is met at which time Defendants pay 100%.

                                             82.     After providing covered substance use disorder and mental health treatment to

                                      Defendants' insureds/members, Plaintiff submitted thousands of claims for reimbursement to

                                      Defendants pursuant to the terms of Defendants' policies. Defendants were obligated to pay

                                      Plaintiff 70% of its billed charges (minus any cost-sharing amounts) until the deductible/out-of-

                                      pocket maximum is met at which time Defendants pay 100%. Instead, Defendants paid Plaintiff a

                                      mere 25.9% of the covered expenses for the claims.

                                             83.     Plaintiff is also an express and intended third-party beneficiary of the written

                                                                                    - 25 -
                                                                                 COMPLAINT
                      Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 27 of 41 Page ID #:38



                                1   contracts (the policies) between Defendants and the insured patients treated by Plaintiff, and is

                                2 entitled to recover on that basis.

                                3          84.     Defendants and their insureds intended that Plaintiff directly benefit from the

                                4 contracts and the contracts indicate the intent to benefit Plaintiff by payment for the services

                                5   provided to Defendants' insureds.

                                6          85.     The policies issued and/or administered by Defendants provide their

                                7 insureds/members the option of seeking treatment and services with Defendants' INPs or choosing

                                8 their own ONPs,like Plaintiff. The policies also specifically provide for the payment of benefits

                                9 for ONPs, like Plaintiff, who provide medically necessary services; and Defendants confirmed the

                               10 out-of-network benefits that Defendants pay to out-of-network providers, like plaintiff, at all levels

                               11   of care. Although the policies issued and/or administered by Defendants may incentivize their
             .0                12 insureds to seek treatment with INPs, those policies explicitly express Defendants' intent to
CALLAHAN & BLAINE




                      o   ,r
                    0.         13   benefit ONPs, like Plaintiff.

                          14         86.     The policies issued and/or administered by Defendants further express Defendants'
                    -°<-=
                    z- zJ 15 intent to benefit ONPs, like Plaintiff, insofar as the policies expressly incorporate by reference

                          W    16   California regulations requiring insurers, like Defendants, to provide an adequate network of INPs
                    m,w
                     D

                     ,
                     c         17 and, in the event of a "network inadequacy" or "network gap," requiring insurers, like Defendants,

                               18   to pay for the required care with available and accessible ONPs, like Plaintiff, with the patient

                               19 responsible for paying only cost-sharing in an amount equal to the cost-sharing they would have

                               20 paid for provision of that or a similar service by an INP (Cal. Code Regs. tit. 10, § 2240.1(e)).

                               21          87.     Defendants' intent to benefit ONPs, like Plaintiff, by the terms of the insurance

                               22 policies is further evidenced by the conduct of the Defendants, who issued payments to ONPs,

                               23   including Plaintiff, for the medically necessary services rendered to their insureds, in accordance

                               24 with the terms of the policies, until in or around 2015, when the Defendants, as part of their

                               25   scheme to decrease their costs on substance use disorder and mental health treatment claims and

                               26 laboratory services, conspired, concocted and implemented their plans to significantly decrease,

                               27 and in some cases completely ceased reimbursing, ONPs providing substance use disorder

                               28 treatment and laboratory services, including Plaintiff

                                                                                - 26 -
                                                                             COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 28 of 41 Page ID #:39



                                             88.     Plaintiff provided covered, verified, preauthorized and necessary substance use

                                      disorder and mental health treatment to Defendants' insureds/members at great expense to

                                      Plaintiff. After providing those services, Plaintiff submitted its claims to Defendants, requesting

                                      compensation for the care and treatment provided to the patient-insureds, and complied with all

                                      terms and conditions of the policies.

                                             89.     Defendants, and each of them, however, failed and refused to comply with their

                                      obligations under the law and the policies and either paid no or inadequate benefits for the

                                      substance use disorder and mental health treatment services that Plaintiff provided to Defendants'

                                      insureds/members.

                                             90.     Upon information and belief, there is no legally operative term in the policies that

                                      would justify Defendants' failure to pay the full benefits owed to Plaintiff for the substance use
                        0
                                      disorder and mental health treatment that Plaintiff provided to Defendants' insureds/members in
CALLAHAN & BLAINE




                    z0
                    0
                        ft        2
                    0z     o
                        z ;§
                                      good faith.
                              O .1S


                    < 0 7,
                                             91.     Plaintiff has performed all duties required of it under the insurance policies, except
                              •

                       W    Li1


                    (
                    -7
                     )2w Z
                         rc
                           -Z
                         <0<
                                0
                                      as excused by Defendants' material breaches.
                        0
                          < LTJ

                    00 z
                    Ct
                        Z F-

                          <
                                             92.     Defendants, and each of them, however, breached the insurance policies by the
                    a. I—
                       D

                        cr)           conduct alleged herein, including without limitation withholding of proper claim payments,

                                      making unreasonable demands on Plaintiff, not engaging in a prompt, full and complete

                                      investigation of Plaintiff's claims, and interpreting the policies in an unduly restrictive manner so

                                      as to deny coverage and benefits when, in fact, coverage exists and benefits are owed.

                                             93.     As a direct and proximate result of Defendants' breaches, Plaintiff has suffered and

                                      continues to suffer general and incidental damages according to proof, and is entitled to statutory

                                      and prejudgment interest and attorney's fees against Defendants, and each of them. Under this

                                      cause of action, Plaintiff seeks to recover the benefits payable under the policies between the

                                      patients and Defendants, or equal to approximately 70% of Plaintiff's billed charges (minus any

                                      cost-sharing amounts) until the subject deductibles/out-of-pocket maximums are met at which

                                      time Defendants pay and 100%.

                                             94.     As a direct and proximate result of Defendants' breaches, Plaintiff has incurred and

                                                                                   - 27 -
                                                                                COMPLAINT
                                             Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 29 of 41 Page ID #:40



                                                                  continues to incur economic loss, including the benefits owed in the millions, the interruption in

                                                                  Plaintiff's business, lost business opportunities, lost profits and other consequences, all according

                                                                  to proof. Plaintiff is also entitled to statutory and prejudgment interest against Defendants.

                                                                                                    SECOND CAUSE OF ACTION

                                                                                     Breach of Implied Covenant of Good Faith and Fair Dealing

                                                                                                         Against All Defendants

                                                                          95.     Plaintiff incorporates by reference all allegations set forth in each of the paragraphs

                                                                  above as if fully set forth herein.

                                                                          96.     As alleged herein, Plaintiff is an assignee and intended beneficiary of its patients'

                                                                  policies issued and/or administered by Defendants and the rights conferred thereunder.

                                                                          97.     Each policy contains an implied covenant of good faith and fair dealing that
                                          NINTH FLOOR




                                                                  obligates each party to do nothing to injure the right of the other party to receive the benefits of the
CALLAHAN & BLAINE
                    A PROFESSIONAL LAW CORPORATION




                                                         •
                                                         c it 2
                                                        (N
                                                                  agreement.
                                                -             <


                                     r
                                     LU
                                      -.                                  98.     Plaintiff provided covered, verified, preauthorized and necessary substance use
                                    W U w


                                    ZZ
                                        - Z —J
                                      <0<
                                           0
                                                                  disorder and mental health treatment to Defendants' insureds/members with the understanding and
                                      <<

                                    Z
                                                        Z W
                                                        <
                                                                  expectation that Defendants would act in good faith and deal fairly with Plaintiff pursuant to the
                                                        Ci)



                                      CO                          policies and the law.

                                                                          99.     Defendants, and each of them, however, tortuously breached the policies and the

                                                                  implied covenant of good faith and fair dealing by the conduct alleged herein, including without

                                                                  limitation withholding of proper claim payments from Plaintiff, making unreasonable demands on

                                                                  Plaintiff, not engaging in a prompt, full and complete investigation of Plaintiff's claims, and

                                                                  interpreting the policies in an unduly restrictive manner so as to deny coverage and benefits when,

                                                                  in fact, coverage exists and benefits are owed to Plaintiff, fraudulently representing to Plaintiff that

                                                                  Defendants would pay the claims in accordance with the policies, fraudulently misrepresenting the

                                                                  terms of the policies, and forcing Plaintiff to initiate litigation to recover the policy benefits owed,

                                                                  failing to abide by the rules and regulations promulgated by the CDI and the DMHC,and by other

                                                                  acts and omissions of which Plaintiff is presently unaware and which will be shown according to

                                                                  proof at the time of trial.

                                                                                                                - 28 -
                                                                                                             COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 30 of 41 Page ID #:41



                                             1           100.     Upon information and belief, the conduct of Defendants, and each of them, as

                                             2 alleged herein constitutes part of an institutional illegal pattern and practice of bad faith and

                                             3    unlawful insurance practices by Defendants, and each of them.

                                            4            101.     Defendants' conduct constitutes a continuing tort that is causing Plaintiff continued

                                             5    damages.

                                            6            102.     The conduct of Defendants as alleged herein was undertaken by Defendants'

                                            7 officers, directors or managing agents who were responsible for supervision, operation, reports,

                                            8 communication and decisions in connection with the coverage, access, claims and benefits at issue

                                            9 herein. The conduct of said officers, directors and managing agents, and of other employees,

                                           10 representatives and agents, was undertaken on behalf of Defendants, which had advance

                                           11     knowledge of the action and conduct of said individuals whose conduct and actions were
                        CY
                        O
                                           12 authorized, ratified and approved by officers, directors or managing agents of Defendants, and
CALLAHAN & BLAINE




                    Z0


                    <                  2
                         `,;,1         0
                    0z
                    a. —
                      zE
                                       o
                                       5
                                           1 _3   each of them.
                    8
                                           14            103.     As a direct and proximate result of Defendants' breaches, Plaintiff has suffered and
                        0
                        w0
                                 Z -J
                                 0<        15 continues to suffer general and incidental damages according to proof, and is entitled to statutory

                                 L1j
                                           16 and prejudgment interest against Defendants, and each of them. Under this cause of action,

                                           17 Plaintiff seeks to recover the benefits payable under the policies between the patients and

                                           18 Defendants, or equal to approximately 70% of covered expenses(minus any cost-sharing

                                           19 amounts) until the deductible/out-of-pocket maximum is met at which time Defendants pay 100%,

                                           20 as well as tort damages that arise from Defendants' bad faith breaches.

                                           21            104.     As a direct and proximate result of Defendants' breaches, Plaintiff has incurred and

                                           22 continues to incur economic loss, including the benefits owed in the millions, the interruption in

                                           23 Plaintiffs business, lost business opportunities, lost profits and other consequences, all according

                                           24 to proof.

                                           25            105.     As a direct and proximate result of Defendants' breaches, Plaintiff has incurred and

                                           26 continues to incur attorney's fees and costs as a result of efforts to secure the insurance benefits

                                           27 owed, in an amount according to proof.

                                           28

                                                                                              - 29 -
                                                                                           COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 31 of 41 Page ID #:42



                                       1                                         THIRD CAUSE OF ACTION

                                       2                                         Breach of Implied Contract

                                       3                                           Against All Defendants

                                       4           106.   Plaintiff incorporates by reference all allegations set forth in each of the paragraphs

                                       5   above as if fully set forth herein.

                                       6           107.   Plaintiff, as an ONP, provided substance use disorder and mental health treatment

                                       7 services to patients who were insured under insurance policies issued and/or administered by

                                       8 Defendants, and each of them, preceded by authorization and verification of benefits by

                                       9 Defendants.

                                      10           108.   Consistent with the trade custom and usage associated with prior authorization and

                                      11   verification of benefits, Plaintiff provided the subject treatment and services with the expectation,
                     0
                                      12 which was fully and clearly understood by Defendants, and each of them, that Plaintiff would be
CALLAHAN & BLAINE




                    z0

                    <2c v 2
                    cc }-- ,
                           cr, sr 0
                    0z
                           < 0        13 compensated for such services. Defendants knew at all times that Plaintiff was not treating
                       E          §
                    °c Li;

                            —I
                              "•      14 Defendants insureds/members for free.
                    _J   0-
                          a
                         W 0
                    <
                    Z
                    O   <0
                      Z Z
                          Z
                                      15          109.    Plaintiff, as an ONP, must often decide on short notice whether and to what extent
                    • W <   (-).

                    (2, z <
                    00 z              16 it can treat a patient. Requiring such providers to, in effect, make an on-the-spot legal analysis

                                      17   whether the statements made by health care plans to authorize treatment and verify benefits

                                      18 constitute binding contract "acceptances" versus supposedly non-binding "authorizations" would

                                      19 jeopardize the safety of patients, and impose an unfair risk on health care providers that they

                                      20   would not get paid for providing treatment and services that are medically necessary. For this

                                      21   reason, the California Legislature enacted Health & Safety Code section 1371.8, which states in

                                      22 relevant part:

                                      23                  A health care service plan that authorizes a specific type of
                                                          treatment by a provider shall not rescind or modify this
                                      24                  authorization after the provider renders the health care service
                                                          in good faith and pursuant to the authorization for any reason,
                                      25                  including, but not limited to, the plan's subsequent rescission,
                                                          cancellation, or modification of the enrollee's or subscriber's
                                      26                  contract or the plan's subsequent determination that it did not make
                                                          an accurate determination of the enrollee's or subscriber's
                                      27                  eligibility.... (Emphasis added.)
                                      28

                                                                                        - 30 -
                                                                                     COMPLAINT
                      Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 32 of 41 Page ID #:43



                               1           110.    In addition to reliance upon the trade custom and usage associated with prior

                               2 authorization and verification of benefits, Plaintiff provided the subject treatment and services

                               3   with the expectation that Plaintiff would be compensated for such services based upon the prior

                               4 course of conduct of Defendants, and each of them, and Defendants confirmed this with Plaintiff

                               5   during the verification of benefits process for each of the treatment insureds/members at issue

                               6 herein.

                               7           111.    Defendants, and each of them, were fully aware of the dollar amounts charged by

                               8 Plaintiff for the subject treatment and services and had previously authorized, verified and

                               9 confirmed the benefits payable to Plaintiff for such treatment and services. Defendants, and each

                              10 of them, were also aware that Plaintiff did not provide the subject treatment and services for free,

                              11   and that Plaintiff would submit its billed charges for said services and expect to be compensated.
                     0
                              12 Defendants, and each of them, also knew Plaintiff was not a contracted in-network provider who
CALLAHAN & BLAINE




                    z0



                    Oz        13   had agreed to accept any pre-negotiated contract rates. With such knowledge, Defendants, and
                    w z :;§
                    0 ,z

                      14 each of them, issued payments for the subject treatment to ONPs, including Plaintiff
            _f in° wn
            0-‹0‹ -   15        1 12. Whereas payment by Defendants, and each of them ,was always sporadic and often
            .  0
            w 1§
            o o zy. 16 inadequate, in or around 2015, and as part of their scheme to decrease their costs of substance use
            m,.     <CD

                      17 disorder and mental health treatment and laboratory claims, Defendants, and each of them,

                              18   conspired, concocted and implemented their plans to significantly decrease, and in some cases

                              19 completely ceased reimbursing, ONPs providing substance use disorder treatment and laboratory

                              20 services, including Plaintiff.

                              21           1 13.   Accordingly, by virtue of Defendants, and each of them, authorizing, verifying and

                              22 confirming the benefits for the subject treatment provided by Plaintiff; by the trade custom and

                              23   usage associated with prior authorization and verification of benefits; and by Defendants' prior

                              24 course of conduct and confirmations, the parties thus created an implied contract, through words

                              25   and conduct, that Defendants, and each of them, would pay Plaintiff for treatment and services

                              26 rendered to Defendants' insureds/members, for the reasonable value of such treatment and

                              27 services.

                              28           1 14.   Defendants are also liable to pay Plaintiff for treating the 104 patients and the

                                                                                 - 31 -
                                                                              COMPLAINT
                    Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 33 of 41 Page ID #:44



                          1   claims at issue due to a contract implied in law based on the network gap concept as discussed

                          2 hereinabove. California law requires that where health insurance carriers such as Defendants

                          3 cannot provide their insureds/members access to the needed health care providers on an "in-

                          4 network" basis, the carriers shall pay any "out-of-network" provider such as Plaintiff the amounts

                          5   necessary to limit the out-of-pocket cost to the patient as if an in-networker provider had provided

                          6 the same treatment and services. In effect, this makes an out-of-network provider eligible to

                          7 receive almost 100 percent of its fully-billed charges (since the patients would be responsible for

                          8   only their relatively nominal co-payments), or in any case substantially more than the contracted

                          9 rates agreed to by an in-network provider.

                         10          1 15.   Upon information and belief, there was a network gap with respect to the 104

                         11   patients payments for whom are at issue in this action, since Defendants failed to arrange for any

                         12 in-network providers in the patients' localities who were willing and able to provide the substance
CALLAHAN & BLAINE




                         13   use disorder treatment and laboratory services required by those patients. Indeed, if Defendants

                         14 objected to their insureds/members obtaining treatment from an ONP such as Plaintiff, why did

                         15 they refuse or otherwise fail to refer those patients to an INP? The only reasonable inference is

                         16 that there were no such INP's who were in the position to treat the patients at issue. As a result,

                         17 those patients had no choice but to seek the services and treatments rendered by Plaintiff, who did

                         18   so in good faith and in reliance on Defendants' expected compliance with the applicable California

                         19 health care law as it pertains to a "network gap."

                        20           1 16.   Plaintiff has performed all duties required of it under the implied contract, except as

                        21    excused by Defendants' material breaches.

                        22           1 17.   Defendants, and each of them, however, breached the implied contract by the

                        23    conduct alleged herein, including without limitation the withholding of proper claim payments.

                        24           1 18.   As a direct and proximate result of Defendants' breaches, Plaintiff has suffered and

                        25 continues to suffer general and incidental damages according to proof, and is entitled to statutory

                        26 and prejudgment interest and attorney's fees against Defendants. In this cause of action, Plaintiff

                        27 is seeking to recover reimbursements regardless of what the policies between Defendants and their

                        28 insureds/members would have provided for the same treatments and services; namely, the

                                                                          - 32 -
                                                                       COMPLAINT
                          Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 34 of 41 Page ID #:45



                                    1   reasonable value of such services and treatments, and/or the payments owing to Plaintiff under

                                    2 California law based on the existence of a "network gap" as to some or all of the 104 patients at

                                    3 issue.

                                    4          119.    As a direct and proximate result of Defendants' breaches, Plaintiff has incurred and

                                    5 continues to incur economic loss, including the benefits owed in millions, the interruption in

                                    6 Plaintiff's business, lost business opportunities, lost profits and other consequences, all according

                                    7 to proof.

                                    8                                   FOURTH CAUSE OF ACTION

                                    9                                        Breach of Oral Contract

                                   10                                         Against All Defendants

                                   11          120.    Plaintiff incorporates by reference all allegations set forth in each of the paragraphs
                         0
                                   12 above as if fully set forth herein.
CALLAHAN & BLAINE




                    z0
                    0 u_
                    <          2
                              v0
                    0z
                    a. — <         L3          121.    As part of verifying benefits and authorizing treatment when necessary, and in
                    0     ;
                    0 Ili   J


                               <
                                   14 multiple communications following admissions and the submission of claims, Defendants, and
                    -J 0
                    -J  w
                    z      •• z
                    0~ z  <0 <     15 each of them, confirmed and orally promised to pay Plaintiff for the substance use disorder and
                        w < =°
                        W
                          <
                        z
                    00z
                          <
                                   16 mental health treatment services provided to Defendants' insureds/members on the same terms as
                    ta_

                         c,        17 provided for in the policies between Defendants and their insureds/members; specifically,

                                   18 payments to Plaintiff equal to approximately 70% of covered expenses(minus any cost-sharing

                                   19 amounts) until the subject deductibles/out-of-pocket maximums are met at which time Defendants

                                   20 pay 100%.

                                   21          122.   The persons answering calls and corresponding on behalf of Defendants, and each

                                   22 of them, were upon information and belief the agents and employees of Defendants, and each of

                                   23 them, and in doing the things herein alleged were acting within the course and scope of such

                                   24 agency and employment and with the permission and consent of Defendants, and each of them.

                                   25          123.   Plaintiff has performed all duties required of it under the oral contract, except as

                                   26 excused by Defendants' material breaches.

                                   27          124.   Defendants and each of them, however, breached the oral contract by the conduct

                                   28 alleged herein, including without limitation the withholding of proper claim payments.

                                                                                    - 33 -
                                                                                 COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 35 of 41 Page ID #:46



                                             1           125.    As a direct and proximate result of Defendants' breaches, Plaintiff has suffered and

                                            2 continues to suffer general and incidental damages according to proof, and is entitled to statutory

                                            3    and prejudgment interest and attorney's fees against Defendants. Under this cause of action,

                                            4 Plaintiff seeks to recover the benefits orally promised, which are equal to approximately 70% of

                                            5    covered expenses(minus any cost-sharing amounts) until the subject deductibles/out-of-pocket

                                            6 maximums are met at which time Defendants pay 100%.

                                            7            126.    As a direct and proximate result of Defendants' breaches, Plaintiff has incurred and

                                            8 continues to incur economic loss, including the benefits owed in the millions, the interruption in

                                            9 Plaintiff's business, lost business opportunities, lost profits and other consequences, all according

                                           10 to proof

                                           11                                          FIFTH CAUSE OF ACTION
                      cG
                      0
                                           12                                             Promissory Estoppel
CALLAHAN & BLAINE




                    Z0
                    0

                    <
                          a, 0
                    0z
                    •
                    •z — <;§               13                                            Against All Defendants
                          z
                    O -
                       w
                       — Li-               14            127.   Plaintiff incorporates by reference all allegations set forth in each of the paragraphs
                    • -Ci Q
                       W     w
                           -z
                    O     <
                         ZZ
                                       <   15    above as if fully set forth herein.
                         W < 20
                    W    0
                    in       a   LL,
                                 —1
                    0O Z
                    X
                         Z


                         <
                                           16            128.    As part of verifying benefits and authorizing the substance use disorder treatment
                    X I— U)
                    <

                                           17 services when necessary, and in multiple communications following admissions and the

                                           18 submission of claims, Defendants confirmed and expressed a clear promise to pay Plaintiff on the

                                           19 same terms as provided for in the policies between Defendants and their insureds/members;

                                           20 specifically, payments to Plaintiff equal to approximately 70% of covered expenses(minus any

                                           21    cost-sharing amounts) until the subject deductibles/out-of-pocket maximums are met at which

                                           22 time Defendants pay 100%.

                                           23           129.    The persons answering calls and corresponding on behalf of Defendants, and each

                                           24 of them, were upon information and belief the agents and employees of Defendants, and each of

                                           25 them, and in doing the things herein alleged were acting within the course and scope of such

                                           26 agency and employment and with the permission and consent of Defendants, and each of them.

                                           27           130.    Plaintiff relied on Defendants' promises in providing substance use disorder

                                           28 treatment services to Defendants' insureds/members, and Defendants, and each of them, should

                                                                                              - 34 -
                                                                                           COMPLAINT
                          Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 36 of 41 Page ID #:47



                                                 reasonably have expected to induce Plaintiff's action in providing said treatment and services.

                                             2           131.    Plaintiff has suffered substantial detriment in reliance upon Defendants' promises

                                             3   in providing substance use disorder and mental health treatment services to Defendants'

                                             4 insureds/member, including without limitation the benefits owed in the millions, the interruption

                                             5   in Plaintiff's business, lost business opportunities, lost profits and other consequences, all

                                             6 according to proof.

                                             7           132.    As a direct and proximate result of Defendants' breaches of their promises, Plaintiff

                                             8   is also entitled to statutory and prejudgment interest and attorney's fees against Defendants, and

                                             9 each of them.

                                            10                                       SIXTH CAUSE OF ACTION

                                            11                                             Quantum Meruit
                      0
                    z0                      12                                         Against All Defendants
CALLAHAN & BLAINE




                    0
                    <               2
                    CY I-          a0

                    a
                    cc
                       Z
                               <            13           133.   Plaintiff incorporates by reference all allegations set forth in each of the paragraphs
                    0      -
                               E        5
                                        <
                         11,
                               o
                                        z   14 above as if fully set forth herein.
                    J0

                    < a.
                               o W lef,
                    zr          -z
                               < o0         15           134.   Plaintiff, as an ONP, provided substance use disorder and mental health treatment
                    C7
                     )         Z
                    U)
                                        §
                         Z
                    00
                         Q         F-
                                            16 services for patients who were insured under insurance policies issued and/or administered by
                    a F.
                    <I

                                            17 Defendants, and each of them, preceded by authorization, confirmation and verification of benefits

                                            18   by Defendants.

                                            19           135.   Consistent with the trade custom and usage associated with prior authorization,

                                            20 confirmation and verification of benefits, Plaintiff provided the subject substance use disorder and

                                            21   mental health treatment services to Defendants' insures/members with the expectation, which was

                                            22 fully and clearly understood by Defendants, and each of them, that Plaintiff would be compensated

                                            23 for such treatment and services provided to Defendants' insureds/members.

                                            24          136.    Plaintiff, as an ONP, must often decide on short notice whether and to what extent

                                            25   it can treat a patient. Requiring such providers to, in effect, make an on-the-spot legal analysis

                                            26   whether the statements made by health care plans to authorize treatment and verify benefits

                                            27 constitute binding contract "acceptances" versus supposedly non-binding "authorizations" would

                                            28 jeopardize the safety of patients, and impose an unfair risk on health care providers that they

                                                                                              - 35 -
                                                                                           COMPLAINT
                          Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 37 of 41 Page ID #:48



                                            1   would not get paid for providing treatments that are medically necessary. For this reason, the

                                            2 California Legislature enacted Health & Safety Code section 1371.8, which states in relevant part:

                                            3                  A health care service plan that authorizes a specific type of
                                                               treatment by a provider shall not rescind or modify this
                                            4                  authorization after the provider renders the health care service
                                                               in good faith and pursuant to the authorization for any reason,
                                            5                  including, but not limited to, the plan's subsequent rescission,
                                                               cancellation, or modification of the enrollee's or subscriber's
                                            6                  contract or the plan's subsequent determination that it did not make
                                                               an accurate determination of the enrollee's or subscriber's
                                            7                  eligibility.... (Emphasis added.)
                                            8

                                            9          137.    In addition to reliance upon the trade custom and usage associated with prior

                                           10 authorization, confirmation and verification of benefits, Plaintiff provided the subject treatment

                                           11   and services to Defendants' insureds/members with the expectation that Plaintiff would be
                         0
                                           12 compensated for such treatment and services based upon the prior course of conduct between
CALLAHAN & BLAINE




                    z0
                    0

                     F—             .
                                    4" 0
                    0z
                          <
                         z—
                                           13 Plaintiff and Defendants, and each of them.
                          z
                                    c <
                         ui           _J
                         >
                              U_
                              0.
                              =.J
                                 Z
                                           14          138.    Defendants, and each of them, were fully aware of the dollar amounts charged by
                              <
                    _J
                    <    WOW
                              <- 0 <
                                    Z _J
                                           15 Plaintiff for the subject treatment and services and had previously authorized, confirmed and
                    U)   <
                    U)0
                         <
                    LL Z
                    00 Z
                    z  H<H
                                           16 verified benefits for such treatment and services. Defendants, and each of them, were also aware
                    0— I-- U)
                    <0
                                           17 that Plaintiff did not provide the subject treatment and services for free, and that Plaintiff would

                                           18 submit its billed charges for said treatment and services and expect to be compensated.

                                           19 Defendants, and each of them, also knew Plaintiff was not a contracted in-network provider who

                                           20 had agreed to accept any pre-negotiated contract rates. With such knowledge, Defendants, and

                                           21   each of them, issued payments for the subject treatment and services to ONPs, including Plaintiff.

                                           22          139.    Whereas payment by Defendants, and each of them, was always sporadic and often

                                           23 inadequate, in or around 2015, and as part of their scheme to decrease their costs of substance use

                                           24 disorder and mental health treatment and laboratory claims, Defendants, and each of them,

                                           25 conspired, concocted and implemented their plans to significantly decrease, and in some cases

                                           26 completely ceased reimbursing, ONPs providing substance use disorder treatment and laboratory

                                           27 services, including Plaintiff.

                                           28          140.    Defendants, and each of them, were at all times obligated under California law to

                                                                                            - 36 -
                                                                                         COMPLAINT
                        Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 38 of 41 Page ID #:49



                                       1   provide or arrange for the provision of access for their insureds to health care services in a timely

                                      2 manner, and sought to satisfy this duty by providing a network of INPs for their insureds to choose

                                      3 from so they may receive the necessary treatment and services at the lowest expense to the insurer

                                      4 and the insured.

                                      5            141.   Defendants are also liable to pay Plaintiff for treating the 104 patients and claims at

                                      6 issue due to a contract implied in law based on the network gap concept as discussed hereinabove.

                                      7 California law requires that where health insurance carriers such as Defendants cannot provide

                                      8 their insureds/members access to the needed health care providers on an "in-network" basis, the

                                      9 carriers shall pay any "out-of-network" provider such as Plaintiff the amounts necessary to limit

                                     10 the out-of-pocket cost to the patient as if an in-networker provider had provided the same

                                     11    treatment and services. In effect, this makes an out-of-network provider eligible to receive almost
                      0
                                     12    100 percent of its fully-billed charges (since the patients would be responsible for only their
CALLAHAN & BLAINE




                    zo

                    ‹
                    .
                    O z ",r0
                       <             13    relatively nominal co-payments), or in any case substantially more than the contracted rates agreed
                      z-
                       2

                             T--‹    14 to by an in-network provider.
                    Q W O W
                                     15            142.   Upon information and belief, there was a network gap with respect to the 104
                    w w < .Lm;, §o
                    w
                    O oz             16 patients payments for whom are at issue in this action, since Defendants failed to arrange for any
                    m i—co
                    <3
                                     17 in-network providers in the patients' localities who were willing and able to provide the substance

                                     18    use disorder treatment and laboratory services required by those patients. Indeed, if Defendants

                                     19 objected to their insureds/members obtaining treatment from an ONP such as Plaintiff, why did

                                     20 they refuse or otherwise fail to refer those patients to an INP? The only reasonable inference is

                                     21    that there were no such INP's who were in the position to treat the patients at issue. As a result,

                                     22 those patients had no choice but to seek the treatment and services rendered by Plaintiff, who did

                                     23 so in good faith and in reliance on Defendants' expected compliance with the applicable California

                                     24 health care law as it pertains to a "network gap."

                                     25           143.    Defendants, and each of them, by words and conduct, requested that Plaintiff

                                     26 provide medically necessary substance use disorder treatment services to their insureds/members,

                                     27 which benefitted Defendants in terms of meeting their legal and contractual obligations to provide

                                     28 or arrange for the provision of access to health care services in a timely manner.

                                                                                       - 37 -
                                                                                    COMPLAINT
                        Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 39 of 41 Page ID #:50



                              1           144.    As part of verifying benefits and authorizing treatment when necessary, and in

                              2 multiple communications following admissions and the submission of claims, Defendants, and

                              3 each of them, knew that Plaintiff was providing substance use disorder treatment services to

                              4 Defendants' insureds/members and promised to pay Plaintiff for the treatment and services and

                              5   thereafter enjoyed the benefit of Plaintiff providing the services Defendants were obligated to

                              6 ensure for their insureds/members.

                              7           145.   The persons answering calls and corresponding on behalf of Defendants, and each

                              8   of them, were upon information and belief the agents and employees of Defendants, and each of

                              9 them, and in doing the things herein alleged were acting within the course and scope of such

                             10 agency and employment and with the permission and consent of Defendants, and each of them.

                             11           146.   Plaintiff is entitled to be paid the reasonable and customary fees for the substance

                             12 use disorder and mental health treatment services provided to Defendants' insureds/members,
CALLAHAN & BLAINE




                             13   without regard to the payment provisions in Defendant's policies and/or the payments owing to

                             14 Plaintiff under California law based on the existence of a "network gap" as to some or all of the

                             15   104 patients at issue.

                             16          147.    The fair and reasonable value of the non-reimbursed treatment and services that
                    A




                             17 Plaintiff provided to Defendants' insureds/members is in the millions.

                             18          148.    Defendants, and each of them, however, have failed and refused, and continue to

                             19 refuse, to reimburse Plaintiff for the reasonable and customary value of Plaintiffs services as

                            20 required by law.

                            21           149.    As a direct and proximate result of Defendants' failure to pay for services rendered,

                            22 Plaintiff has suffered and continues to suffer general and incidental damages according to proof,

                            23    and is entitled to statutory and prejudgment interest and attorney's fees against Defendants, and

                            24 each of them.

                            25           150.    As a direct and proximate result of Defendants' failure to pay for the treatment and

                            26 services rendered to Defendants' insureds/members, Plaintiff has incurred and continues to incur

                            27 economic loss, including the benefits owed in the millions, the interruption in Plaintiffs business,

                            28 lost business opportunities, lost profits and other consequences, all according to proof

                                                                              - 38 -
                                                                           COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 40 of 41 Page ID #:51



                                       1                                    SEVENTH CAUSE OF ACTION

                                       2                                           Unfair Competition

                                       3                                         Against All Defendants

                                       4           151.   Plaintiff incorporates by reference all allegations set forth in each of the paragraphs

                                       5   above as if fully set forth herein.

                                       6           152.   The conduct of Defendants, and each of them, as alleged herein not only constitutes

                                       7 common law bad faith, but also violates state and federal law, regulations and policies, and thus

                                       8 constitutes unlawful, unfair, and fraudulent business practices in violation of the UCL (Bus. &

                                       9 Prof. Code §§ 17200 et seq.).

                                      10           153.   Plaintiff has suffered injury in fact and has lost money or property as a result of

                                      11   acts of unfair competition by Defendants, and each of them, as alleged herein.
                     0
                                      12           154.   Plaintiff is entitled to injunctive relief under the UCL and, as such, Plaintiff seeks a
CALLAHAN & BLAINE




                    z0
             '
             C-- u- c3
                     r- st. ,_
             < I,    a,c..4 .4.,
             ft 1-          v0
             0Z
             c,z -;
                            `?" U     13 temporary restraining order, a preliminary injunction, and a permanent injunction, all enjoining
                     Z
                            cv <
             0 w „ _ ...i
                 > ,., .1- ,
                - w ,_ Z
                 E_r -
                     _, r--- <
                                      14 Defendants, and each of them, from unjustifiably withholding proper payment of claims.
                    ;Cj L
                        u-I
                         iI
                        H.  C 6
                              --
                               ..1;
                    g H. - z
                          <
                    - Zz0 <
                                      15           155.   Plaintiff is further entitled to an order appointing a receiver over Defendants, and
                    co Lu < 1 °
                    CD 0
                    LU    < (L)I-J
                    LL. Z I-- --,
                    0 0 Z !,-,        16 each of them, and restoring to Plaintiff any money or property that was acquired through the
                    0- I- U)
                    < D
                       I
                                      17 foregoing acts of unfair competition (Cal. Bus. & Prof. Code § 17203).

                                      18

                                      19                                                PRAYER

                                      20          WHEREFORE,Plaintiff prays for judgment against Defendants, and each of them, and

                                      21   that the Court award the following relief:

                                      22          1.      For compensatory, general and special damages in amounts to be proven at trial;

                                      23          2.      For statutory and prejudgment interest;

                                      24          3.      For costs incurred in connection with this lawsuit;

                                      25          4.      For attorney's fees;

                                      26          5.      For injunctive and equitable relief; and

                                      27          6.      For all other relief the Court deems just and proper.

                                      28

                                                                                       - 39 -
                                                                                    COMPLAINT
                         Case 8:20-cv-00102-JWH-ADS Document 1-1 Filed 01/17/20 Page 41 of 41 Page ID #:52



                                                                            DEMAND FOR JURY TRIAL

                                                   Plaintiff Woman's Recovery Center, LLC hereby requests a trial by jury for all claims

                                            triable by jury.



                                            Dated: December 5, 2019                   CALLAHA              AINE, APLC


                                                                                      By:
                                                                                                     Callahan
                                                                                            Edward Susolik
                                                                                            Richard T. Collins
                                                                                            Damon D. Eisenbrey
                                                                                            Attorneys for Plaintiff Woman's Recovery
                                                                                            Center, LLC



                      0
CALLAHAN & BLAINE




                    z0
                    0
                            o
                    <
                            r--
                    cc F-
                    0z
                    a —
                        Z
                    0         ;
                        Lg o
                                        Z
                        0
                        :("
                            C.) uj
                                Z
                    0          0<
                            Z

                    U.1
                    U-. Z
                    00
                    a 1_          1F-
                                    j
                    a H cn




                                                                                      - 40 -
                                                                                   COMPLAINT
